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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  SOUTHERN
 ____________________              NEW YORK
                      District of _________________
                                       (State)
                                                             7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                           Helios and Matheson Analytics Inc.
                                           ______________________________________________________________________________________________________



2.   All other names debtor used            MovieFone
                                           ___________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              1 ___
                                           ___ 3 – ___
                                                    3 ___
                                                       1 ___
                                                          6 ___
                                                             9 ___
                                                                9 ___
                                                                   1 ___
                                                                      3
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                            350 Fifth Avenue                                            _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 5330                                                  _______________________________________________
                                           ______________________________________________
                                                                                                        P.O. Box
                                            New York                       NY          10118
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            New York
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                  www.hmny.com
                                           ____________________________________________________________________________________________________

                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                                                               Pg 2 of 101
Debtor
                  Helios And Matheson Analytics Inc.                                              Case number (if known)_____________________________________
                 _______________________________________________________
                 Name


                                            A. Check one:
7.    Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            X None of the above
                                            

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 7 ___
                                                ___ 1 ___
                                                       3 ___
                                                          9

8.    Under which chapter of the            Check one:
      Bankruptcy Code is the                X Chapter 7
      debtor filing?                        
                                             Chapter 9
                                            q Chapter 11. Check all that apply:
                                                            
                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12

9.    Were prior bankruptcy cases           X No
                                            
      filed by or against the debtor
      within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases               No
      pending or being filed by a
                                            X Yes.
                                                             See Attached List
                                                      Debtor _____________________________________________               Affiliates
                                                                                                           Relationship _________________________
      business partner or an
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor
               Helios and Matheson Analytics Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      X No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  x Funds will be available for distribution to unsecured creditors.
                                       
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of              q 50-99                           5,001-10,000                             50,001-100,000
      creditors                        x 100-199
                                                                        10,001-25,000                            More than 100,000
                                       q 200-999

                                        $0-$50,000                     X $1,000,001-$10 million
                                                                                                                  $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor          Helios and Matheson Analytics Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                  X $10,000,001-$50 million
                                                                                                                      $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                          1/28/2020
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         /s/Robert Damon
                                            _____________________________________________                Robert Damon
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                    Authorized Officer
                                            Title _________________________________________




18.   Signature of attorney
                                         /s/Frank A. Oswald
                                            _____________________________________________              Date
                                                                                                                         1/28/2020
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM    / DD / YYYY


                                            Frank A. Oswald
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Togut, Segal & Segal LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            One Penn Plaza, Suite 3335
                                            _________________________________________________________________________________________________
                                            Number     Street
                                            New York                                                        NY               10119
                                            ____________________________________________________           ____________ ______________________________
                                            City                                                           State        ZIP Code

                                            212-594-5000
                                            ____________________________________                            frankoswald@teamtogut.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                                                                                    New York
                                            ______________________________________________________ ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza
Suite 3335
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Brian F. Moore

Counsel for the Debtor

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------- x
                                                                        :
    In re:                                                              :   Chapter 7
                                                                        :
                                                                    1 :     Case No.
    HELIOS AND MATHESON ANALYTICS INC.,
                                                                        :
                                                                        :
                                        Debtor.                         :
                                                                        :
    ------------------------------------------------------------------- x

                 ATTACHMENT TO VOLUNTARY PETITION FOR
         NON-INDIVIDUALS FILING FOR BANKRUPTCY UNDER CHAPTER 11

       1.     If any of the debtor’s securities are registered under Section 12 of the
Securities Exchange Act of 1934, the SEC file number is 0-22945.

       2.     The following financial data is the latest available information and refers
to the debtor’s condition on January 2020.

            a.    Total assets                                                     $___396,472,337_____

            b.    Total debts (including debts listed in 2.c., below)              $___276,830,435_____



            Footnotes:
            (1) Balances of assets and liabilities do not take into account eliminating entries.
            (2) Net Book Value. Helios & Matheson Analytics, Inc’s assets consist primarily of
            investments in their subsidiaries. It would be prohibitively expensive, unduly burdensome
            and an inefficient use of estate assets for the Debtors to obtain or estimate current market
            valuations of all of their assets at this time. Unless otherwise indicated, net book values as
            of the Petition Date are reflected on the Bankruptcy Materials. The net book value reflect
            the original investment in each of the subsidiaries. The net book value for an asset may be

1
       Helios and Matheson Analytics Inc., and its subsidiaries and affiliates, Zone Technologies, Inc., and
       MoviePass, Inc. (each a “Debtor,” and collectively the “Debtors”) concurrently commenced Chapter 7
       cases.
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       materially different from its fair market value. Except as otherwise indicated, each asset
       and liability of the Debtor reflected in the Schedules reflect the carrying value of the assets
       and liabilities as listed in the available books and records of the Debtor, and are not based
       upon any estimate of their current market values.

       (3) Intercompany Claims. Receivables and payables among a Debtor and its
       affiliates (each an “Intercompany Receivable” or “Intercompany Payable” and,
       together, the “Intercompany Claims”) are reported on Schedule A/B(11) or
       Schedule F as a net receivable or payable due to/or from the Debtor to/from an
       affiliate. Where no balance is listed, the Debtors do not believe, based on
       information currently available, that such Debtor has any Intercompany Receivable
       or Intercompany Payable. However, the Intercompany balances, Intercompany
       Loans, Intercompany Interests and any type of Intercompany claims are considered
       non recoverable with no value.




       c.   Debt securities held by more than 500 holders
                                                                                     Approximate
                                                                                     number of
                                                                                     holders:
       secured ☐      unsecured ☐      subordinated ☐        $_____N/A_____          _____________
       secured ☐      unsecured ☐      subordinated ☐        $______________         _____________
       secured ☐      unsecured ☐      subordinated ☐        $______________         _____________
       secured ☐      unsecured ☐      subordinated ☐        $______________         _____________
       secured ☐      unsecured ☐      subordinated ☐        $______________         _____________


       d. Number of shares of preferred stock                           20,500 shares
                                                                        redeemable preferred
                                                                        (redeemable at the
                                                                        Company’s option for
                                                                        $205.00, in the
                                                                        aggregate)
                                                                        10 shares convertible
                                                                        preferred (convertible
                                                                        into 166,667 shares of
                                                                        common stock, in the
                                                                        aggregate)



       e. Number of shares common stock                                 ___3,001,396,750_______

      Comments, if any: __There are 2,102,688,187 warrants outstanding to purchase
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      common stock.__________________________________________________________

      3.     Brief description of debtor’s business: Information technology, services

and solutions, including a range of technology platforms focusing on data, business

intelligence and consumer-centric technology.

      4.     List the names of any person who directly or indirectly owns, controls, or

holds, with power to vote, 5% or more of the voting securities of debtor:

______Unknown_______________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
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                                     SCHEDULE “1”

              Pending Bankruptcy Cases filed by Affiliates of the Debtor


        On January 28, 2020 each of the entities listed below filed a petition in this Court
for relief under Chapter 7 of the United States Code.

   1. Helios and Matheson Analytics Inc.
   2. Zone Technologies Inc.
   3. MoviePass, Inc.
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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza
Suite 3335
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Brian F. Moore

Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
                                                               :
In re:                                                         :    Chapter 7
                                                               :
                                                               :    Case No.
HELIOS AND MATHESON ANALYTICS                                  :
INC.,                                                          :
                                                               :
                                                               :
                                    Debtor.                    :
-------------------------------------------------------------- x


                 SCHEDULES OF ASSETS AND LIABILITIES FOR
                   HELIOS AND MATHESON ANALYTICS INC.
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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza
Suite 3335
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Brian F. Moore

Counsel for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
                                                                :
In re:                                                          :   Chapter 7
                                                                :
                                                                :   Case No.
HELIOS AND MATHESON ANALYTICS INC. :
                                                                :
                                                                :
                                    Debtor.                     :
                                                                :
--------------------------------------------------------------- x

                       GLOBAL NOTES REGARDING
                 BANKRUPTCY SCHEDULES AND STATEMENTS


Basis of Presentation. The Bankruptcy Materials reflect the assets and liabilities of the
Debtor.1 The Bankruptcy Materials do not purport to represent financial statements prepared
in accordance with U.S. Generally Accepted Accounting Principles (“GAAP”).

Failure to include an asset on the Bankruptcy Materials does not represent an admission that such
asset is not property of the Debtor. Similarly, inclusion of a liability on the Bankruptcy Materials
of the Debtor does not represent an admission that the Debtor is the party obligated for such
liability.

Schedule A/B(11)—Net Book Value. Helios & Matheson Analytics, Inc’s assets consist
primarily of investments in their subsidiaries. It would be prohibitively expensive, unduly
burdensome and an inefficient use of estate assets for the Debtor to obtain or estimate current
market valuations of all of their assets at this time. Unless otherwise indicated, net book values
as of the Petition Date are reflected on the Bankruptcy Materials. The net book value reflect the
original investment in each of the subsidiaries. The net book value for an asset may be materially
1   Helios and Matheson Analytics Inc., and its subsidiaries and affiliates, Zone Technologies, Inc., and
    MoviePass, Inc. (each a “Debtor,” and collectively the “Debtors”) concurrently commenced Chapter 7
    cases.
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different from its fair market value. Except as otherwise indicated, each asset and liability of the
Debtor reflected in the Schedules reflect the carrying value of the assets and liabilities as listed in
the available books and records of the Debtor, and are not based upon any estimate of their
current market values.

Schedule A/B(11)/Schedule F—Intercompany Claims. Receivables and payables among
a Debtor and its affiliates (each an “Intercompany Receivable” or “Intercompany Payable” and,
together, the “Intercompany Claims”) are reported on Schedule A/B(11) or Schedule F as a net
receivable or payable due to/or from the Debtor to/from an affiliate. Where no balance is listed,
the Debtor does not believe, based on information currently available, that such Debtor has any
Intercompany Receivable or Intercompany Payable. However, the Intercompany balances,
Intercompany Loans, Intercompany Interests and any type of Intercompany claims are
considered non recoverable with no value.

Schedule G: Executory Contracts and Unexpired Leases. While commercially reasonable
efforts have been made to ensure the accuracy of Schedule G regarding executory contracts
and unexpired leases, inadvertent errors, omissions or over-inclusions may have occurred. The
Debtor reserves all of their rights to dispute the validity, status or enforceability of any
contracts, agreements or leases set forth in Schedule G and to amend or supplement such
Schedule as necessary.

SOFA: Insiders. In the circumstance where the Bankruptcy Materials require information
regarding insiders and/or officers and directors, the Debtor has attempted to include therein
each of the Debtor’s (a) directors and (b) employees that may be, or may have been during
the relevant period, “officers,” as such term is defined by applicable law. The listing of a
party as an insider is not intended to be, nor should it be, construed as a legal characterization
of such party as an insider and does not act as an admission of any fact, claim, right, or
defense, and all such rights, claims, and defenses are hereby expressly reserved.
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Fill in this information to identify the case:

Debtor Name: In re : Helios and Matheson Analytics Inc.

United States Bankruptcy Court for the: Southern District of New York
                                                                                                                                                                                                 Check if this is an
Case number (if known):                                                                                                                                                                          amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15


Part 1:        Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                            $                734.00
     1a. Copy line 88 from Schedule A/B ...........................................................................................................................


     1b. Total personal property:
                                                                                                                                                                                            $        448,239,125.94
     1b. Copy line 91A from Schedule A/B ..........................................................................................................................


     1c. Total of all property:
                                                                                                                                                                                            $        448,239,859.94
     1c. Copy line 92 from Schedule A/B .............................................................................................................................



Part 2:       Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                            $                  0.00
     Copy the total dollar amount listed in Column A, Amount of claim,from line 3 of Schedule D .....................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                            $                  0.00
     3a. Copy the total claims from Part 1 from line 5a of Schedule E/F ............................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                            +$        60,903,624.13
     3b. Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .................................................


4. Total liabilities
                                                                                                                                                                                            $         60,903,624.13
     Lines 2 + 3a + 3b ..............................................................................................................................................................




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  Page 1 of 1
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Fill in this information to identify the case:

Debtor Name: In re : Helios and Matheson Analytics Inc.

United States Bankruptcy Court for the: Southern District of New York
                                                                                                                               Check if this is an
Case number (if known):                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.



For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.




Part 1:       Cash and cash equivalents

   1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
      5   Yes. Fill in the information below.

      All cash or cash equivalents owned or controlled by the debtor                                                  Current value of debtor’s interest


   2. Cash on hand

              2.1 None                                                                                                $


   3. Checking, savings, money market, or financial brokerage accounts (Identify all)
      Name of institution (bank or brokerage firm)             Type of account      Last 4 digits of account number

              3.1 Citibank                                     Checking             0626                              $                      51,848.00

              3.2 Citibank                                     Savings              4193                              $                       1,125.00

              3.3 Citibank                                     Checking / Payroll   5674                              $                      67,294.00

              3.4 Citibank                                     Checking             3374                              $                       4,616.00

              3.5 Bank of America                              Checking             1812                              $                      12,435.00


   4. Other cash equivalents (Identify all)

             4.1 None                                                                                                 $


  5. Total of Part 1
                                                                                                                      $                    137,318.00
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                       Page 1 of 13
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             Helios and Matheson Analytics Inc.
  Debtor:                                                            Pg 14 of 101      Case number (if known):
              Name


Part 2:     Deposits and prepayments
  6. Does the debtor have any deposits or prepayments?
          No. Go to Part 3.
    5 Yes. Fill in the information below.

                                                                                                      Current value of debtor’s interest

 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
                 Office Lease Security Deposit
                 Holder: Empire State Building
             7.1 350, Fifth Avenue, New York                                                          $                      115,995.00

                Former Officer Apartment
             7.2 Holder: Tower 111 LLC. New York                                                      $                         5,850.00


  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
                 Insurance - Property, D&O, Cyber, Employee Liability Insurance
                 Holder: NFP PROPERTY & CASUALTY SERVICES, INC.
                 45 EXECUTIVE DRIVE
             8.1 PLAINVIEW, NY 11803                                                                  $                      249,078.00

                 Workers' Compensation, Umbrella, B&O Insurance
                 THE HARTFORD
                 P.O. BOX 33015
             8.2 San Antonio, TX 78265-3015                                                           $                         1,592.68

                 Vendor Prepayment
                 NAVEX Global Inc.
                 5500 Meadows Road, Suite 500
             8.3 Lake Oswego, OR 97035                                                                $                          167.09

                 Vendor Prepayment
                 App Annie
                 23 Geary Street, Suite 800
             8.4 San Francisco, CA 94108                                                              $                       12,348.06

                 Vendor Prepayment
                 Oxford Health Plans
                 PO Box 1697
             8.5 Newark, NJ 07101-1697                                                                $                       56,237.48

                 Vendor Prepayment
                 PC Mall Inc.
                 1940 Mariposa Ave
             8.6 El Segundo, CA 90245                                                                 $                         1,120.28

             8.7 Stock comp. true-up                                                                  $                       18,145.00


9. Total of Part 2.
    Add lines 7 through 8. Copy the total to line 81.                                                 $                      460,533.59




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                      Page 2 of 13
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              Helios and Matheson Analytics Inc.
   Debtor:                                                            Pg 15 of 101      Case number (if known):
               Name

Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
     5 Yes. Fill in the information below.
                                                                                                                                       Current value of debtor’s
                                                                                                                                       interest

11. Accounts receivable
                                    Description           face amount                  doubtful or uncollectible accounts
                                    Accounts
    11a.     90 days old or less:   Receivable            $               195,579.35   -$                             N/A   =..... Î   $                195,579.35



    11b.     Over 90 days old:      None                  $                            -$                                   =..... Î   $                       0.00


12. Total of Part 3.
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                            $                195,579.35




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                               Page 3 of 13
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             Helios and Matheson Analytics Inc.
  Debtor:                                                            Pg 16 of 101      Case number (if known):
              Name


Part 4:       Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
    5 Yes. Fill in the information below.
                                                                                                Valuation method used
                                                                                                                      Current value of debtor’s interest
                                                                                                for current value

14. Mutual funds or publicly traded stocks not included in Part 1

    Name of fund or stock:

             14.1 None                                                                                                  $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                      % of ownership:

             15.1 MoviePass, Inc.                                        91.8                   Original Cost           $                140,196,792.00

             15.2 MoviePass Films LLC                                    51                     Original Cost           $                  9,715,737.00

             15.3 HMGS Pvt. Ltd.                                         100                    Original Cost           $                    250,000.00

             15.4 Zone Technologies                                      100                    Original Cost           $                  9,858,660.00

             15.5 MoviePass Ventures, Inc.                               100                    Original Cost           $                      Unknown



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

              16.1 None                                                                                                     $


17. Total of Part 4.
    Add lines 14 through 16. Copy the total to line 83.                                                                 $                160,021,189.00




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                       Page 4 of 13
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              Helios and Matheson Analytics Inc.
  Debtor:                                                              Pg 17 of 101      Case number (if known):
                 Name


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
     5 No. Go to Part 6.
            Yes. Fill in the information below.

                                                                                Net book value of debtor's
                                                           Date of the last                                  Valuation method used       Current value of debtor’s
     General description                                                        interest
                                                           physical inventory                                for current value           interest
                                                                                (Where available)

19. Raw materials
                                                                                $                                                        $


20. Work in progress
                                                                                $                                                        $


21. Finished goods, including goods held for resale
                                                                                $                                                        $


22. Other inventory or supplies
                                                                                 $                                                       $


 23. Total of Part 5.
     Add lines 19 through 22. Copy the total to line 84.                                                                             $                          0.00


24. Is any of the property listed in Part 5 perishable?
            No
            Yes


25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Description                      Book value $                         Valuation method                Current value $



 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                             Page 5 of 13
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             Helios and Matheson Analytics Inc.
   Debtor:                                                            Pg 18 of 101      Case number (if known):
               Name


Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     5 No. Go to Part 7.
          Yes. Fill in the information below.

                                                                            Net book value of debtor's     Valuation method
     General description                                                    interest                       used for current    Current value of debtor’s interest
                                                                            (Where available)              value
 28. Crops—either planted or harvested
                                                                            $                                                  $


 29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                            $                                                  $


 30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                            $                                                   $


 31. Farm and fishing supplies, chemicals, and feed
                                                                            $                                                   $


 32. Other farming and fishing-related property not already listed in Part 6
                                                                            $                                                   $

 33. Total of Part 6.
     Add lines 28 through 32. Copy the total to line 85.                                                                        $                              0.00


 34. Is the debtor a member of an agricultural cooperative?
          No
          Yes. Is any of the debtor’s property stored at the cooperative?
                No
                Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
          No
          Yes. Description                      Book value $                            Valuation method                  Current value $




 36. Is a depreciation schedule available for any of the property listed in Part 6?
          No
          Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
          No
          Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                             Page 6 of 13
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            Helios and Matheson Analytics Inc.
  Debtor:                                                           Pg 19 of 101      Case number (if known):
            Name


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
       No. Go to Part 8.
     5Yes. Fill in the information below.

                                                                     Net book value of debtor's
                                                                                                      Valuation method used for   Current value of debtor’s
     General description                                             interest
                                                                                                      current value               interest
                                                                     (Where available)
 39. Office furniture

             39.1 Office furniture/fixtures                          $                    24,178.00   NBV                         $                24,178.00


 40. Office fixtures

             40.1 None                                               $                                                            $


 41. Office equipment, including all computer equipment and
     communication systems equipment and software

             41.1 Office equipment                                   $                     8,987.00   NBV                         $                 8,987.00

             41.2 Computer hardware                                  $                    54,038.00   NBV                         $                54,038.00


 42. Collectibles Examples: Antiques and figurines; paintings,prints, or other artwork;
     books, pictures, or other art objects; china and crystal; stamp, coin, or baseball
     card collections; other collections, memorabilia, or collectibles

             42.1 None                                               $                                                            $


 43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.                                                                          $                87,203.00


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     5No
       Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     5No
       Yes




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                         Page 7 of 13
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             Helios and Matheson Analytics Inc.
  Debtor:                                                            Pg 20 of 101      Case number (if known):
              Name


Part 8:       Machinery, equipment, and vehicles
 46. Does the debtor own or lease any machinery, equipment, or vehicles?
      5 No. Go to Part 9.
            Yes. Fill in the information below.


     General description                                                 Net book value of debtor's
                                                                         interest                     Valuation method used
                                                                                                                            Current value of debtor’s interest
     Include year, make, model, and identification numbers (i.e.,                                     for current value
     VIN, HIN, or N-number)                                              (Where available)

 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                         $                                                      $



 48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
     floating homes, personal watercraft, and fishing vessels
                                                                      $                                                      $


  49. Aircraft and accessories
                                                                     $                                                      $


 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
                                                                     $                                                      $



 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.                                                                   $                           0.00


 52. Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes

 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                            Page 8 of 13
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              Helios and Matheson Analytics Inc.
   Debtor:                                                            Pg 21 of 101      Case number (if known):
               Name

Part 9:      Real property
 54.    Does the debtor own or lease any real property?
          No. Go to Part 10.
        5Yes. Fill in the information below.

55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

        Description and location of property
                                                                                           Net book value of
        Include street address or other description such as           Nature and extent of                                   Valuation method   Current value of
                                                                                           debtor's interest
        Assessor Parcel Number (APN), and type of property (for       debtor’s interest in                                   used for current   debtor’s interest
        example, acreage, factory, warehouse, apartment or office     property                                               value
                                                                                           (Where available)
        building), if available.

                    Office Building
                    350 Fifth Avenue, Suite 5330
               55.1 New York, NY 10118                                Leased Property          $                  N/A        N/A                $                   N/A

               55.2 Leasehold improvement                             Leased Property          $               734.00        NBV                $              734.00


56. Total of Part 9.
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                      $             734.00


57.     Is a depreciation schedule available for any of the property listed in Part 9?`
        5No
          Yes

58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        5No
          Yes




Official Form 206 A/B                              Schedule A/B: Assets - Real and Personal Property                                                    Page 9 of 13
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            Helios and Matheson Analytics Inc.
  Debtor:                                                           Pg 22 of 101      Case number (if known):
            Name



Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
      No. Go to Part 11.
    5Yes. Fill in the information below.

                                                                         Net book value of debtor's                           Current value of debtor’s
                                                                         interest                      Valuation method
    General description                                                                                                       interest
                                                                         (Where available)             used for current value

60. Patents, copyrights, trademarks, and trade secrets
            60.1 MovieFone Trademarks                                    $             4,379,504.00    NBV                    $              4,379,504.00


61. Internet domain names and websites
            61.1 None                                                   $                                                     $


62. Licenses, franchises, and royalties
            62.1 None                                                    $                                                     $


63. Customer lists, mailing lists, or other compilations
            63.1 None                                                    $                                                    $


64. Other intangibles, or intellectual property
            64.1 Computer Software                                       $                12,303.00    NBV                    $                 12,303.00


65. Goodwill
            65.1 None                                                    $                                                    $


66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                        $             4,391,807.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    5No
      Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    5No
      Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    5No
      Yes




Official Form 206 A/B                            Schedule A/B: Assets - Real and Personal Property                                         Page 10 of 13
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   Debtor:                                                           Pg 23 of 101      Case number (if known):
             Name


Part 11:     All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
      No. Go to Part 12.
    5Yes. Fill in the information below.

                                                                                                                                      Current value of debtor’s
                                                                                                                                      interest




71. Notes receivable
     Description (include name of obligor)                 Total face amount           doubtful or uncollectible accounts
             71.1 None                                     $                           -$                                   =.....   Î $


72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
             72.1 Federal NOL - Helios & Matheson Analytics, Inc.                        Tax year 2019                                $                73,867,861.00


73. Interests in insurance policies or annuities
             73.1 None                                                                                                                $



74. Causes of action against third parties (whether or not a lawsuit
     has been filed)
             74.1 None                                                                                                                 $

                  Nature of claim

                  Amount requested                         $



 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims
             75.1 Zone Technologies                                                                                                    $                11,626,226.00

                  Nature of claim                               Intercompany Balance

                  Amount requested                          $                           11,626,226.00

             75.2 Zone Technologies, Inc.                                                                                              $                  1,133,305.00

                  Nature of claim                               Intercompany Loan

                  Amount requested                          $                            1,133,305.00

             75.3 MoviePass, Inc.                                                                                                      $               187,285,000.00

                  Nature of claim                               Intercompany Advance

                  Amount requested                          $                          187,285,000.00

             75.4 MoviePass, Inc.                                                                                                      $                  2,859,564.00

                  Nature of claim                               Intercompany Balance

                  Amount requested                          $                            2,859,564.00

             75.5 MoviePass Films, Inc.                                                                                                $                   874,089.00

                  Nature of claim                               Intercompany Balance

                  Amount requested                          $                               874,089.00




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property                                                  Page 11 of 13
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             Helios and Matheson Analytics Inc.
   Debtor:                                                           Pg 24 of 101      Case number (if known):
              Name

             75.6 MoviePass Films, Inc.                                                                $         300,000.00

                  Nature of claim                               Intercompany Loan

                  Amount requested                          $                           300,000.00

             75.7 MoviePass Ventures, Inc.                                                             $       4,999,451.00

                  Nature of claim                               Intercompany Balance

                  Amount requested                          $                          4,999,451.00



76. Trusts, equitable or future interests in property
             76.1 None                                                                                 $


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
             77.1 None                                                                                 $


 78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                               $   282,945,496.00



79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    5No
      Yes




Official Form 206 A/B                             Schedule A/B: Assets - Real and Personal Property        Page 12 of 13
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     Debtor:                                                                        Pg 25 of 101      Case number (if known):
                  Name



Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                                                Current value of                        Current value of real
                                                                                                      personal property                       property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                $                137,318.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                    $                460,533.59

82. Accounts receivable. Copy line 12, Part 3.                                                        $                195,579.35

83. Investments. Copy line 17, Part 4.                                                                $           160,021,189.00

84. Inventory. Copy line 23, Part 5.                                                                  $                         0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                         $                         0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                      $                  87,203.00
      Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                         $                         0.00

88. Real property. Copy line 56, Part 9.............................................................................................Î         $                      734.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $              4,391,807.00

90. All other assets. Copy line 78, Part 11.                                                          $           282,945,496.00

                                                                                                      $            448,239,125.94
91. Total. Add lines 80 through 90 for each column...............................91a.                                                   + 91b. $                     734.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................................   $      448,239,859.94




 Official Form 206 A/B                                       Schedule A/B: Assets - Real and Personal Property                                                                     Page 13 of 13
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                                                                             Pg 26 of 101
 Fill in this information to identify the case:

 Debtor Name: In re : Helios and Matheson Analytics Inc.

 United States Bankruptcy Court for the: Southern District of New York
                                                                                                                                                          Check if this is an
 Case number (if known):                                                                                                                                  amended filing


 Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

 Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor’s property?
    5 No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.

Part 1:        List Creditors Who Have Secured Claims


2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                               Column A
                                                                                                                                                                Column B
   secured claim, list the creditor separately for each claim.                                                                     Amount of claim
                                                                                                                                                                Value of collateral that
                                                                                                                                   Do not deduct the
                                                                                                                                                                supports this claim
                                                                                                                                   value of collateral.

       2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien

                                                                                                                               $                            $
             Creditor's Name

             Creditor’s mailing address
                                                                        Describe the lien
             Notice Name


             Street

                                                                        Is the creditor an insider or related party?
                                                                            No
                                                                            Yes
             City                  State             ZIP Code


             Country                                                    Is anyone else liable on this claim?
             Creditor’s email address, if known                              No
                                                                             Yes. Fill out Schedule H: Codebtors(Official Form 206H).
             Date debt was incurred

             Last 4 digits of account                                   As of the petition filing date, the claim is:
             number                                                     Check all that apply.
                                                                             Contingent
             Do multiple creditors have an interest in the                   Unliquidated
             same property?
                                                                             Disputed
                      No
                      Yes. Have you already specified the
                      relative priority?

                           No. Specify each creditor, including this
                           creditor, and its relative priority.


                           Yes. The relative priority of creditors is
                           specified on lines




          3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
             Page, if any.                                                                                                     $




 Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                              Page 1 of 2
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Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
  agencies, assignees of claims listed above, and attorneys for secured creditors.

  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1      Last 4 digits of
  Name and address                                                                                             did you enter the related    account number for
                                                                                                               creditor?                    this entity

                                                                                                               Line
  Name



  Notice Name


  Street




  City                                         State                          ZIP Code



  Country




 Official Form 206D                       Schedule D: Creditors Who Have Claims Secured by Property                                                   Page 2 of 2
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                                                                        Pg 28 of 101
 Fill in this information to identify the case:

 Debtor Name: In re : Helios and Matheson Analytics Inc.

 United States Bankruptcy Court for the: Southern District of New York
                                                                                                                                                     Check if this is an
 Case number (if known):                                                                                                                             amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


Part 1:      List All Creditors with PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     5No. Go to Part 2.
       Yes. Go to Line 2.




  2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim               Priority amount

          2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $                         $
                                                                         Check all that apply.
             Creditor Name
                                                                           Contingent
                                                                           Unliquidated
             Creditor's Notice name
                                                                           Disputed


             Address                                                     Basis for the claim:




             City                     State        ZIP Code



             Country

             Date or dates debt was incurred


             Last 4 digits of account                                                                                      Is the claim subject to offset?
             number                                                                                                          No

             Specify Code subsection of PRIORITY unsecured                                                                  Yes
             claim: 11 U.S.C. § 507(a) ()




 Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 1 of 5
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Part 2:     List All Creditors with NONPRIORITY Unsecured Claims



  3.List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
    claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                    Amount of claim

     3.1 Nonpriority creditor’s name and mailing address                           As of the petition filing date, the claim is:    $                  1,746,539.00
          MoviePass, Inc. (Intercompany with Helios & Matheson, Inc.)              Check all that apply.
          Creditor Name
                                                                                   5Contingent
                                                                                   5Unliquidated
          Creditor's Notice name
                                                                                   5Disputed
          350 Fifth Avenue, Suite 5330                                             Basis for the claim:
          Address
                                                                                   Intercompany Balance




          New York                 NY              10118
          City                     State            ZIP Code



          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
          Various                                                                     No
          Last 4 digits of account                                                    Yes

          number N/A

     3.2 Nonpriority creditor’s name and mailing address                           As of the petition filing date, the claim is:    $                  2,254,504.00
          MoviePass, Inc. (Intercompany with MovieFone, Inc.)                      Check all that apply.
          Creditor Name
                                                                                   5Contingent
                                                                                   5Unliquidated
          Creditor's Notice name
                                                                                   5Disputed
          350 Fifth Avenue, Suite 5330                                             Basis for the claim:
          Address
                                                                                   Intercompany Balance




          New York                 NY              10118
          City                     State            ZIP Code



          Country

          Date or dates debt was incurred                                          Is the claim subject to offset?
          Various                                                                     No
          Last 4 digits of account                                                    Yes

          number N/A




 Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 2 of 5
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            Helios and Matheson Analytics Inc.
  Debtor:                                                       Pg 30 of 101      Case number (if known):
               Name

    3.3 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:   $   17,000,000.00
        MoviePass, Inc. (Notes)                                           Check all that apply.
        Creditor Name
                                                                          5Contingent
                                                                          5Unliquidated
        Creditor's Notice name
                                                                          5Disputed
        350 Fifth Avenue, Suite 5330                                      Basis for the claim:
        Address
                                                                          Intercompany Notes




        New York                 NY              10118
        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
        Various                                                             No
        Last 4 digits of account                                            Yes

        number N/A

    3.4 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:   $   39,902,581.13
        See Attachment: Schedule E/F (Part 2)                             Check all that apply.
        Creditor Name
                                                                          5Contingent
                                                                          5Unliquidated
        Creditor's Notice name
                                                                          5Disputed
                                                                          Basis for the claim:
        Address




        City                     State            ZIP Code



        Country

        Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                            No
        Last 4 digits of account                                            Yes

        number




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 5
                20-10242-smb             Doc 1         Filed 01/28/20 Entered 01/28/20 19:38:55                                  Main Document
                                                                    Pg 31 of 101
Part 3:        List Others to Be Notified About Unsecured Claims
    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
       collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the
       next page.


      Name and mailing address                                                   On which line in Part 1 or Part 2 is the      Last 4 digits of account
                                                                                 related creditor (if any) listed?             number, if any


                                                                                 Line
      Name                                                                         Not Listed.Explain

      Notice Name


      Street




      City                       State                ZIP Code



      Country




  Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 4 of 5
              20-10242-smb           Doc 1      Filed 01/28/20 Entered 01/28/20 19:38:55          Main Document
                                                             Pg 32 of 101
Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a.   Total claims from Part 1                                                            5a.     $                        0.00


5b.   Total claims from Part 2                                                            5b. ¬   $              60,903,624.13




5c.   Total of Parts 1 and 2                                                              5c.     $              60,903,624.13
      Lines 5a + 5b = 5c.




  Official Form 206E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 5 of 5
               20-10242-smb                 Doc 1          Filed 01/28/20 Entered 01/28/20 19:38:55                                Main Document
                                                                        Pg 33 of 101

 Fill in this information to identify the case:

 Debtor Name: In re : Helios and Matheson Analytics Inc.

 United States Bankruptcy Court for the: Southern District of New York
                                                                                                                                                   Check if this is an
 Case number (if known):                                                                                                                           amended filing


 Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


 1.   Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
      5Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
      5Form 206A/B).

                                                                                                         State the name and mailing address for all other parties with
 2.   List all contracts and unexpired leases                                                            whom the debtor has an executory contract or unexpired
                                                                                                         lease
              State what the contract or
        2.1                                                                                              Allegis Global Solutions, Inc. ("AGS")
              lease is for and the nature     Contract Services Agreement
              of the debtor’s interest                                                                   Name


                                                                                                         Notice Name

                                                                                                         7312 Parkway Drive
              State the term remaining        1 month until 2/25/2020                                    Address



              List the contract number of     N/A
              any government contract


                                                                                                         Hanover                           MD                   21076
                                                                                                         City                              State                ZIP Code


                                                                                                         Country


              State what the contract or
        2.2                                                                                              ESRT Management LLC
              lease is for and the nature     Office Lease Agreement
              of the debtor’s interest                                                                   Name


                                                                                                         Notice Name

                                                                                                         111 West 33rd Street
              State the term remaining        29 months until June 30, 2022                              Address



              List the contract number of     N/A
              any government contract


                                                                                                         New York                          NY                   10120
                                                                                                         City                              State                ZIP Code


                                                                                                         Country




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 3
               20-10242-smb                 Doc 1        Filed 01/28/20 Entered 01/28/20 19:38:55 Main Document
               Helios and Matheson Analytics Inc.
    Debtor:                                                           Pg 34 of 101      Case number (if known):
               Name
           State what the contract or
       2.3                                                                                        Helios and Matheson Global Services Private Limited
           lease is for and the nature       Services Agreement
           of the debtor’s interest                                                               Name


                                                                                                  Notice Name

                                                                                                  #306, 3rd Floor, Beta Block, Sigma Tech Park
              State the term remaining        Discretionary term                                  Address

                                                                                                  Varthur Kodi, Whitefield Road
              List the contract number of     N/A
              any government contract


                                                                                                  Bangalore                                             560066
                                                                                                  City                            State                 ZIP Code
                                                                                                  India
                                                                                                  Country


              State what the contract or
       2.4                                                                                        J Mitchell Lowe
              lease is for and the nature    Employment Contract
              of the debtor’s interest                                                            Name


                                                                                                  Notice Name

                                                                                                  6538 Collins Ave #236
              State the term remaining                                                            Address



              List the contract number of     N/A
              any government contract


                                                                                                  Miami                           FL                    33141
                                                                                                  City                            State                 ZIP Code


                                                                                                  Country


              State what the contract or     Helios as Guarantor for Zone's Telephone Equipment
       2.5                                                                                        LEAF Capital Funding LLC
              lease is for and the nature    Lease Agreement (7100 Samsung Phone System)
              of the debtor’s interest                                                            Name


                                                                                                  Notice Name

                                                                                                  One Commerce Square
              State the term remaining        3 months until April 30, 2020                       Address

                                                                                                  2005 Market Street 14th Floor
              List the contract number of     N/A
              any government contract


                                                                                                  Philadelphia                    PA                    19103
                                                                                                  City                            State                 ZIP Code


                                                                                                  Country




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                                Page 2 of 3
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               Helios and Matheson Analytics Inc.
    Debtor:                                                          Pg 35 of 101      Case number (if known):
               Name
           State what the contract or
       2.6                                                                                    Marca Global LLC
           lease is for and the nature       Master Services Agreement
           of the debtor’s interest                                                           Name


                                                                                              Notice Name

                                                                                              7100 E Belleview Ave Suite 310
              State the term remaining        3 months to April 16, 2020                      Address



              List the contract number of     N/A
              any government contract


                                                                                              Greenwood Village                CO      80111
                                                                                              City                             State   ZIP Code


                                                                                              Country




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                               Page 3 of 3
             20-10242-smb                  Doc 1          Filed 01/28/20 Entered 01/28/20 19:38:55                            Main Document
                                                                       Pg 36 of 101

Fill in this information to identify the case:

Debtor Name: In re : Helios and Matheson Analytics Inc.

United States Bankruptcy Court for the: Southern District of New York
                                                                                                                                           Check if this is an
Case number (if known):                                                                                                                    amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.


1.   Does the debtor have any codebtors?
     5No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes

2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
     listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.


            Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                                 Check all schedules
            Name                               Mailing address                                                Name
                                                                                                                                                 that apply:

       2.1 Zone Technologies                   350 Fifth Avenue, Suite 5330                                   LEAF                                 D
                                               Street

                                                                                                                                                 5 E/F


                                                                                                                                                   G


                                               New York                    NY                   10118-5306
                                               City                        State                ZIP Code



                                               Country




 Official Form 206H                                                     Schedule H: Codebtors                                                          Page 1 of 1
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Fill in this information to identify the case:                         Pg 37 of 101
Debtor Name: In re : Helios and Matheson Analytics Inc.

United States Bankruptcy Court for the: Southern District of New York

Case number (if known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


             Declaration and signature


            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
            individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


            5    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

            5    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


            5    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

            5    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

            5    Schedule H: Codebtors (Official Form 206H)

            5    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration




            I declare under penalty of perjury that the foregoing is true and correct.


            Executed on     01/28/2020                                                   µ   / s / Robert Damon

                            MM / DD / YYYY                                                   Signature of individual signing on behalf of debtor




                                                                                             Robert Damon
                                                                                             Printed name

                                                                                             Authorized Officer

                                                                                             Position or relationship to debtor




  Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
                                  20-10242-smb        Doc 1           Filed In
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                                                                               re: Helios and Matheson Analytics Inc.
                                                                                                                                                Main Document
                                                                                         Pg 38E/F,
                                                                                        Schedule  of Part
                                                                                                     1012
                                                                                Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                 Contingent
                                                                                                                                      Account




                                                                                                                                                                                                             Disputed
                                                                                                                                      number
                                                                                                                           Date       (last 4                     Subject to
                 Nonpriority Creditor's Name                         Address                                 Contact       incurred   digits)   Basis for claim   offset (Y/N)                                          Amount of claim

                                               200 Broadacres Dr, 3rd Floor
3.5    Alliance Advisors LLC                   Bloomfield, NJ 07003                                                                             Trade Vendor                       x            x             x              $258,521.00

                                               110 Chestnut Ridge Rd., #257
3.6    Altara                                  Mountvale, NJ 07645                                        877-528-2597                          Trade Vendor                       x            x             x                $6,480.00


                                               89 Nexus Way, Camana Bay
                                               KY1-9007
3.7    Alto Opportunity Master Fund, SPC       Cayman Islands                                                                                   Noteholder                         x            x             x               $62,462.74

                                               AMC Theatres
                                               13731 Collections Center Drive
3.8    AMC Theaters                            Chicago, IL 60693                                                                                Trade Vendor                       x            x             x                 $635.00

                                               23 Geary Street, Suite 800
3.9    App Annie Inc.                          San Francisco, CA 94108                                                                          Trade Vendor                       x            x             x               $51,861.52

                                               510 Madison Avenue, 22nd Floor
3.10   Armistice Capital Master Fund Ltd.      New York, NY 10022                                         212-231-4930                          Warrant Holder                     x            x             x              $742,000.00

                                               500 Brickell Ave E2801
3.11   Auxygen LLC (AUX3)                      Miami, FL 33131                                            781-974-3189                          Trade Vendor                       x            x             x                 $297.29

                                               P.O. Box 416604
3.12   Bloomberg Finance LP                    Boston, MA 02241-6604                                      212-318-2000                          Trade Vendor                       x            x             x                $7,044.22
                                               Levi & Korsinsky, LLP
                                               Mark Levine                                               212-363-7500
                                               55 Broadway, 10th Floor                                 Fax: 212-363-7171
3.13   Jeffrey Braxton                         New York, NY 10006                                      Email: ek@zlk.com                        Litigation                         x            x             x                 Unknown

                                               BROADRIDGE ICS
                                               P.O. BOX 416423
3.14   Broadridge                              BOSTON, MA 02241-6423                                      631-254-7422                          Trade Vendor                       x            x             x              $140,434.78

                                               BUSINESS WIRE, INC
                                               101 CALIFORNIA ST, 20TH FL
3.15   Business Wire Inc                       SAN FRANCISCO, CA 94111                                    415-986-4422                          Trade Vendor                       x            x             x                $7,570.00

                                               Contra Costa County District Attorney’s Office
                                               Gary E. Koeppel, Esq., John Ortiz, Esq.
                                               Deputy District Attorneys
                                               900 Ward Street
3.16   California District Attorney Offices    Martinez, CA 94553-1708                                                                          Litigation                         x            x             x                 Unknown

                                               San Joaquin County District Attorney’s Office
                                               Stephen Maier, Esq.
                                               Deputy District Attorney
                                               222 E. Weber Avenue #202
3.16   California District Attorney Offices    Stockton, CA 95202-2709                                                                          Litigation                         x            x             x                 Unknown




                                                                                                   Page 1 of 7
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                                                                            01/28/20         Entered 01/28/20 19:38:55
                                                                               re: Helios and Matheson Analytics Inc.
                                                                                                                                               Main Document
                                                                                         Pg 39E/F,
                                                                                        Schedule  of Part
                                                                                                     1012
                                                                               Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                Contingent
                                                                                                                                     Account




                                                                                                                                                                                                            Disputed
                                                                                                                                     number
                                                                                                                          Date       (last 4                     Subject to
                 Nonpriority Creditor's Name                         Address                                Contact       incurred   digits)   Basis for claim   offset (Y/N)                                          Amount of claim

                                               Sonoma County District Attorney’s Office
                                               Caroline Fowler, Esq.
                                               Matt Cheever, Esq.
                                               Deputy District Attorneys
                                               600 Administration Drive, Room 212J
3.16   California District Attorney Offices    Santa Rosa, CA 95403-2870                                                                       Litigation                         x            x             x                 Unknown

                                               Ventura County District Attorney’s Office
                                               Danny Lo, Esq.
                                               Deputy District Attorney
                                               5720 Ralston Street, Suite 300
3.16   California District Attorney Offices    Ventura, CA 93003-7843                                                                          Litigation                         x            x             x                 Unknown

                                               651 Township Line Road, #1663
3.17   Centri Business Consulting, LLC         Blue Bell, PA 19422                                                                             Trade Vendor                       x            x             x               $89,822.50

                                               651 Township Line Road
3.18   Centri Valuation Services, LLC          #1663 Blue Bell, PA 19422                                                                       Trade Vendor                       x            x             x               $23,890.00

                                               99 High Street, 30th Floor
3.19   CFGI, LLC                               Boston, MA 02110                                          617-531-8270                          Trade Vendor                       x            x             x              $958,091.24
                                               Levi & Korsinsky, LLP
                                               Eduard Korsinsky                                         212-363-7500
                                               55 Broadway, 10th Floor                                Fax: 212-363-7171
3.20   Jeffrey Chang                           New York, NY 10006                                     Email: ek@zlk.com                        Litigation                         x            x             x                 Unknown

                                               The Brown Law Firm, PC
                                               Timothy W Brown
                                               240 Townscend Square
3.21   Yu Chen                                 Oyster Bay, NY 11771                                                                            Litigation                         x            x             x                 Unknown

                                               CMarie Productions, LLC
                                               15172 Tungwood Street
3.22   CMarie Productions LLC                  Westminster, CA 92683                                     925-408-4771                          Trade Vendor                       x            x             x               $14,500.00

                                               Computershare Inc.
                                               Dept CH 16934
3.23   Computershare Inc.                      Palatine, IL 60055-9228                                   866-524-0690                          Trade Vendor                       x            x             x               $40,965.52

                                               633 West Fifth Street, 31st Floor
3.24   Cornerstone Research                    Los Angeles, CA 90071-2005                                213-553-2500                          Trade Vendor                       x            x             x               $24,904.95
                                               Law Offices of Kenneth J. Freed
                                               Kenneth J. Freed, David E. Weeks
                                               14226 Ventura Boulevard
3.25   Creditors Adjustment Bureau, Inc.       Sherman Oaks, CA 91423                                    818-990-0888                          Litigation                         x            x             x                 Unknown
                                               PO Box 309
                                               Grand Cayman E9 KY1-1104
3.26   CVI Investments Inc.                    Cayman Islands                                                                                  Noteholder                         x            x             x              $489,052.47

                                               314 N Vista St.
3.27   D.C. Berridge, LLC (dba Best Events)    Los Angeles, CA 90036                                     323-857-5577                          Trade Vendor                       x            x             x               $31,250.00




                                                                                                  Page 2 of 7
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                                                                                      re: Helios and Matheson Analytics Inc.
                                                                                                                                                           Main Document
                                                                                                Pg 40E/F,
                                                                                               Schedule  of Part
                                                                                                            1012
                                                                                         Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                            Contingent
                                                                                                                                                 Account




                                                                                                                                                                                                                        Disputed
                                                                                                                                                 number
                                                                                                                                      Date       (last 4                     Subject to
                Nonpriority Creditor's Name                                 Address                                   Contact         incurred   digits)   Basis for claim   offset (Y/N)                                          Amount of claim
                                                       Robbins Geller Rudman & Dowd LLP (San Diego)
                                                       Benny C. Goodman, III, Erik W. Luedeke                     (619) 231-1058
                                                       655 West Broadway                                        Fax: (619)-231-7423
                                                       Suite 1900                                             bennyg@rgrdlaw.com;
3.28   John P. Dash                                    San Diego, CA 92101                                    eluedeke@rgrdlaw.com                         Litigation                         x            x             x                 Unknown
                                                       Robbins Geller Rudman & Dowd LLP
                                                       Mary Katherine Blasy                                       631-367-7100
                                                       58 South Services Road, Suite 200                        Fax: 631-367-1173
3.29   John P. Dash                                    Melville, NY 11747                                      mblasy@rgrdlaw.com                          Litigation                         x            x             x                 Unknown

                                                       Directors Desk, LLC – LBX #50200
                                                       P.O. Box 780200
3.30   Directors Desk                                  Philadelphia, PA 19178-0200                                                                         Trade Vendor                       x            x             x                $1,531.19

                                                       9901 Belward Campus Dr
                                                       Suite 175
3.31   Donohoe Advisory Associates LLC                 Rockville, MD 20850                                                                                 Trade Vendor                       x            x             x                $4,163.88


                                                       1 Rockefeller Plaza, Suite 1205
3.32   Empery Asset Master LTD                         New York, NY 10020                                          212-608-3300                            Noteholder                         x            x             x              $129,550.51


                                                       1 Rockefeller Plaza, Suite 1205
3.33   Empery Tax Effeciant, LP                        New York, NY 10020                                          212-608-3300                            Noteholder                         x            x             x               $64,230.98


                                                       1 Rockefeller Plaza, Suite 1205
3.34   Empery Tax Effeciant II, LP                     New York, NY 10020                                          212-608-3300                            Noteholder                         x            x             x              $126,030.67

                                                       ESRT Empire State Building, LLC
                                                       111 West 33rd Street 12th Floor                                                                     Lease
3.35   Empire State Building                           New York, NY 10120                                          212-400-3407                            Counterparty                       x            x             x               $41,184.83

                                                       777 Third Ave,12th Floor
3.36   Epiq eDiscovery Solutions                       New York, NY 10017                                          913-621-9980                            Trade Vendor                       x            x             x              $145,117.50

                                                       Federal Trade Commission
                                                       Zachary A. Keller
                                                       Southwest Region
                                                       1999 Bryan St. Suite 2150
3.37   Federal Trade Commission                        Dallas, TX 75201                                                                                    Litigation                         x            x             x                 Unknown

                                                       FIRST Insurance Funding
                                                       450 Skokie Blvd, Ste 1000
3.38   First Insurance funding - Accnt# 900-90594656   Northbrook, IL 60062-7917                                   800-837-2511                            Insurance                          x            x             x               $40,577.55

                                                       FIRST Insurance Funding
                                                       450 Skokie Blvd, Ste 1000
3.39   First Insurance funding - Accnt# 900-91215350   Northbrook, IL 60062-7917                                   800-837-2511                            Insurance                          x            x             x              $137,799.92

                                                       350 Fifth Avenue, Suite 5330
3.40   Muralikrisha Gadiyaram                          New York, NY 10118                                                                                  Trade Vendor                       x            x             x              $131,250.00




                                                                                                            Page 3 of 7
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                                                                                                                                                    Main Document
                                                                                          Pg 41E/F,
                                                                                         Schedule  of Part
                                                                                                      1012
                                                                                Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                  Unliquidated
                                                                                                                                                                                     Contingent
                                                                                                                                          Account




                                                                                                                                                                                                                 Disputed
                                                                                                                                          number
                                                                                                                               Date       (last 4                     Subject to
                 Nonpriority Creditor's Name                          Address                                Contact           incurred   digits)   Basis for claim   offset (Y/N)                                          Amount of claim

                                               Genisights INC, No. 2035
                                               Sunset Lake Road, Suite B-2
                                               New Castle County
3.41   geniSIGHTS Inc                          Newark, DE 19702                                                                                     Trade Vendor                       x            x             x               $16,000.00

                                               710 Carlyle St
3.42   Gravity Capital Partners Ltd            Woodmere, NY 11598                                         516-851-5112                              Trade Vendor                       x            x             x               $30,000.00

                                               1840 Century Park East Suite 1900
3.43   Greenberg Traurig, LLP ( GT Law)        Los Angeles, CA 90067                                      310-586-7700                              Trade Vendor                       x            x             x            $4,065,010.37

                                               777 3rd Avenue
3.44   Hudson Bay Master Fund Ltd              New York, NY 10017                                         212-571-1244                              Noteholder                         x            x             x           $20,121,997.68

                                               777 3rd Avenue
3.45   Hudson Bay Master Fund Ltd              New York, NY 10017                                         212-571-1244                              Noteholder                         x            x             x            $3,401,403.31

                                               777 3rd Avenue
3.46   Hudson Bay Master Fund Ltd              New York, NY 10017                                         212-571-1244                              Noteholder                         x            x             x            $6,102,602.06

                                               777 3rd Avenue
3.47   Hudson Bay Master Fund Ltd              New York, NY 10017                                         212-571-1244                              Warrant Holder                     x            x             x              $742,000.00

                                               Goddard Law PLLC
                                               Megas S. Goddard, Esq
                                               39 Broadway
                                               Suite 1540
3.48   Madison Geery                           New York, NY 10038                                        (646) 504-8363                             Litigation                         x            x             x                 Unknown


                                               Gainey McKenna & Egleston
                                               Gregory M. Egleston                                       212-983-1300
                                               440 Park Avenue, South 5th Floor                       Fax: 212-983-0380
3.49   Genadi Ignatov                          New York, NY 10016                                   egleston@gme-law.com                            Litigation                         x            x             x                 Unknown

                                               16823 Leroy Avenue
3.50   Kirthi Kalyanam                         Los Gatos, CA 95032                                        408-394-7786                              Trade Vendor                       x            x             x               $30,000.00

                                               500 Fifth Avenue, 34th Floor
3.51   Krieger Kim & Lewin LLP                 New York, NY 10110                                                                                   Trade Vendor                       x            x             x                $5,993.00

                                               52 Duane Street, 7th Floor
3.51   Law Offices of Peter Katz LLC           New York, NY 10007                                         212-933-9323                              Trade Vendor                       x            x             x                $7,762.50

                                               Weisslaw LLP
                                               Richard A. Acocelli
                                               1500 Broadway, 16th Floor                                 212-682-3025
3.52   David J. Lichter                        New York, NY 10036                                  racocelli@weisslawllp.com                        Litigation                         x            x             x                 Unknown

                                               6538 Collins Ave #326
3.53   J Mitchell Lowe                         Miami, FL 33141                                                                                      Employee                           x            x             x                 Unknown

                                               One Lowenstein Drive
3.54   Lowenstein Sandler LLP                  Roseland, NJ 07068                                         973-597-2500                              Trade Vendor                       x            x             x               $20,947.50




                                                                                                   Page 4 of 7
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                                                                                              Pg 42E/F,
                                                                                             Schedule  of Part
                                                                                                          1012
                                                                                      Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                       Contingent
                                                                                                                                            Account




                                                                                                                                                                                                                   Disputed
                                                                                                                                            number
                                                                                                                                 Date       (last 4                     Subject to
                 Nonpriority Creditor's Name                               Address                                 Contact       incurred   digits)   Basis for claim   offset (Y/N)                                          Amount of claim


                                                    Baritz & Colman, LLP
                                                    David S. Richan
                                                    233 Broadway
                                                    Suite 2020
3.55   Madison Global Partners, LLC                 New York, NY 10279                                          212-886-1693                          Litigation                         x            x             x                 Unknown

                                                    5775 DTC Blvd., Suite 400
3.56   Media Audits International                   Greenwood Village, CO 80111                                 303-694-0444                          Trade Vendor                       x            x             x               $13,879.25

                                                    17 State Street, 7th Floor
3.56   Mediant Communications Inc                   New York, NY 10004                                          212-514-5202                          Trade Vendor                       x            x             x               $71,656.84

                                                    2049 Century Park East, 18th Floor
3.57   MITCHELL SILBERBERG & KNUPP LLP              Los Angeles, CA 90067                                       310-312-2000                          Trade Vendor                       x            x             x               $84,956.44


                                                    Stewart C. Dearing
                                                    Assistant Attorney General
                                                    28 Liberty Street
3.58   New York Attorney General                    New York, NY 10005                                                                                Litigation                         x            x             x                 Unknown

                                                    H-9/1, 2nd Floor, Kambar Street
                                                    Kalashetra Colony
                                                    Besant Nagar, Chennai - 600090
3.59   Nithyaesh & Vaibhav                          India                                                                                             Trade Vendor                       x            x             x               $24,000.00

                                                    815 Northvale Rd
3.60   NMN Advisors                                 Oakland, CA 94610                                                                                 Trade Vendor                       x            x             x               $21,000.00

                                                    Radim 14 Entry 4
       Now You Global Communication (Maayan Nave    Tel Aviv - Yafo 6998225
3.61   Enterprise & Management Ltd.)                Israel                                                      077-4245701                           Trade Vendor                       x            x             x              $317,100.00

                                                    767 3rd Avenue
3.62   Proactive Investors LLC                      New York, NY 10017                                                                                Trade Vendor                       x            x             x               $27,218.75

                                                    c/o Sabby Management, LLC
                                                    10 Mountainview Road Suite 205
3.63   Sabby Volitility Warrant Master Fund, Ltd.   Upper Saddle River, NJ 07458                                646-307-4527                          Warrant Holder                     x            x             x              $742,000.00


                                                    United States Attorney’s Office
                                                    Eastern District of New York
                                                    271 Cadman Plaza East
3.63   Securities and Exchange Commission           Brooklyn, New York 11201                                                                          Litigation                         x            x             x                 Unknown
                                                    U.S. Department of Justice
                                                    950 Constitution Ave., NW
3.64   Securities and Exchange Commission           Washington, DC 20530                                                                              Litigation                         x            x             x                 Unknown
                                                    Hershenson Rosenberg-Wohl, APC
                                                    David Michael Rosenberg-Wohl
                                                    315 Montgomery St., 8th Fl.                                 415-829-4330
3.65   Jackie Tabas                                 San Francisco, CA 94104                                  david@hrw-law.com                        Litigation                         x            x             x                 Unknown




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                                                                                                      1012
                                                                                 Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                   Contingent
                                                                                                                                        Account




                                                                                                                                                                                                               Disputed
                                                                                                                                        number
                                                                                                                             Date       (last 4                     Subject to
                 Nonpriority Creditor's Name                           Address                                Contact        incurred   digits)   Basis for claim   offset (Y/N)                                          Amount of claim

                                               1901 Avenue of the Stars, Suite 1040
3.66   The Pollack PR Marketing Group          Los Angeles, CA 90067                                       310-556-4443                           Trade Vendor                       x            x             x               $53,500.00

                                               The Rosen Law Firm, PA
                                               Phillip Kim, Erica L. Stone                                212-686-1060
                                               275 Madison Avenue, 40th Floor                         pkim@rosenlegal.com;
3.67   Timour Prokpiev                         New York, NY 10016                                    estone@rosenlegal.com                        Litigation                         x            x             x                 Unknown

                                               1210 97th St.
3.68   THE TAG EXPERIENCE, LLC                 Bay Harbor Islands, FL 33154                                917-553-4542                           Trade Vendor                       x            x             x               $87,660.00

                                               PO Box 303
3.69   TSI (Teqnical Services, Inc.)           Quaker Hill, CT 06375                                       860-440-3887                           Trade Vendor                       x            x             x              $121,875.00

                                               100 Universal City Plaza
3.70   Universal Studios Operations Group      Universal City, CA 91608                                    818-777-4544                           Trade Vendor                       x            x             x                $2,760.67



3.71   Viollis Group International                                                                         212-315-0088                           Trade Vendor                       x            x             x                $2,556.00




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                                                                                                        1012
                                                                                   Creditors Who Have NONPRIORITY Unsecured Claims




                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                       Contingent
                                                                                                                                          Account




                                                                                                                                                                                                                   Disputed
                                                                                                                                          number
                                                                                                                               Date       (last 4                     Subject to
                Nonpriority Creditor's Name                              Address                                Contact        incurred   digits)   Basis for claim   offset (Y/N)                                            Amount of claim
                                                   Reese LLP
                                                   George Volney Granade                                    212-643-0500
                                                   8484 Wilshire Boulevard, Suite 515                    Fax: 212-253-4272
3.72   Lawrence Weinberger and Laurie Weinberger   Los Angeles, CA 90211                               ggranade@reesellp.com                        Litigation                           x            x             x                 Unknown
                                                   Reese Richman, LLP
                                                   Michael Robert Reese
                                                   875 Avenue of the Americas                              (212) 579-4625
                                                   18th Floor                                            Fax: (212) 253-4272
3.72   Lawrence Weinberger and Laurie Weinberger   New York, NY 10001                                   mreese@reesellp.com                         Litigation                           x            x             x                 Unknown
                                                   Accounts Receivable
                                                   P.O. Box 5340
3.73   WithumSmith+Brown                           Princeton, NJ 08543                                       609-945-7966                           Trade Vendor                         x            x             x               $17,481.50
                                                                                                                                                                                     TOTAL:                                     $39,902,581.13




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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza
Suite 3335
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Brian F. Moore

Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
                                                              :
In re:                                                        :   Chapter 7
                                                              :
                                                              :   Case No.
HELIOS AND MATHESON ANALYTICS                                 :
INC.,                                                         :
                                                              :
                                                              :
                                    Debtor.                   :
------------------------------------------------------------- x


                    STATEMENT OF FINANCIAL AFFAIRS FOR
                    HELIOS AND MATHESON ANALYTICS INC.
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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza
Suite 3335
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Brian F. Moore

Counsel for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
                                                                :
In re:                                                          :   Chapter 7
                                                                :
                                                                :   Case No.
HELIOS AND MATHESON ANALYTICS INC. :
                                                                :
                                                                :
                                    Debtor.                     :
                                                                :
--------------------------------------------------------------- x

                       GLOBAL NOTES REGARDING
                 BANKRUPTCY SCHEDULES AND STATEMENTS


Basis of Presentation. The Bankruptcy Materials reflect the assets and liabilities of the
Debtor.1 The Bankruptcy Materials do not purport to represent financial statements prepared
in accordance with U.S. Generally Accepted Accounting Principles (“GAAP”).

Failure to include an asset on the Bankruptcy Materials does not represent an admission that such
asset is not property of the Debtor. Similarly, inclusion of a liability on the Bankruptcy Materials
of the Debtor does not represent an admission that the Debtor is the party obligated for such
liability.

Schedule A/B(11)—Net Book Value. Helios & Matheson Analytics, Inc’s assets consist
primarily of investments in their subsidiaries. It would be prohibitively expensive, unduly
burdensome and an inefficient use of estate assets for the Debtor to obtain or estimate current
market valuations of all of their assets at this time. Unless otherwise indicated, net book values
as of the Petition Date are reflected on the Bankruptcy Materials. The net book value reflect the
original investment in each of the subsidiaries. The net book value for an asset may be materially
1   Helios and Matheson Analytics Inc., and its subsidiaries and affiliates, Zone Technologies, Inc., and
    MoviePass, Inc. (each a “Debtor,” and collectively the “Debtors”) concurrently commenced Chapter 7
    cases.
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different from its fair market value. Except as otherwise indicated, each asset and liability of the
Debtor reflected in the Schedules reflect the carrying value of the assets and liabilities as listed in
the available books and records of the Debtor, and are not based upon any estimate of their
current market values.

Schedule A/B(11)/Schedule F—Intercompany Claims. Receivables and payables among
a Debtor and its affiliates (each an “Intercompany Receivable” or “Intercompany Payable” and,
together, the “Intercompany Claims”) are reported on Schedule A/B(11) or Schedule F as a net
receivable or payable due to/or from the Debtor to/from an affiliate. Where no balance is listed,
the Debtor does not believe, based on information currently available, that such Debtor has any
Intercompany Receivable or Intercompany Payable. However, the Intercompany balances,
Intercompany Loans, Intercompany Interests and any type of Intercompany claims are
considered non recoverable with no value.

Schedule G: Executory Contracts and Unexpired Leases. While commercially reasonable
efforts have been made to ensure the accuracy of Schedule G regarding executory contracts
and unexpired leases, inadvertent errors, omissions or over-inclusions may have occurred. The
Debtor reserves all of their rights to dispute the validity, status or enforceability of any
contracts, agreements or leases set forth in Schedule G and to amend or supplement such
Schedule as necessary.

SOFA: Insiders. In the circumstance where the Bankruptcy Materials require information
regarding insiders and/or officers and directors, the Debtor has attempted to include therein
each of the Debtor’s (a) directors and (b) employees that may be, or may have been during
the relevant period, “officers,” as such term is defined by applicable law. The listing of a
party as an insider is not intended to be, nor should it be, construed as a legal characterization
of such party as an insider and does not act as an admission of any fact, claim, right, or
defense, and all such rights, claims, and defenses are hereby expressly reserved.
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 Fill in this information to identify the case:

 Debtor Name: In re : Helios and Matheson Analytics Inc.

 United States Bankruptcy Court for the: Southern District Of New York

 Case number (if known):

                                                                                                                                 Check if this is an
                                                                                                                                 amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:      Income


 1. Gross revenue from business

        None


           Identify the beginning and ending dates of the debtor’s fiscal year, which              Sources of revenue       Gross revenue
           may be a calendar year                                                                  Check all that apply     (before deductions and
                                                                                                                            exclusions)


        From the beginning of the
        fiscal year to filing date: From        1/1/2020                 to   Filing date      5   Operating a business

                                                MM / DD / YYYY                                     Other                    $                   Unknown



        For prior year:                From     1/1/2019                 to   12/31/2019       5   Operating a business

                                                MM / DD / YYYY                MM / DD / YYYY       Other                    $               2,522,357.00



        For the year before that:      From     1/1/2018                 to   12/31/2018       5   Operating a business

                                                MM / DD / YYYY                MM / DD / YYYY       Other                    $               3,512,503.00




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          Name


 2. Non-business revenue

    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
    and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    5 None


                                                                                                                             Gross revenue from each
                                                                                                Description of sources       source
                                                                                                of revenue                   (before deductions and
                                                                                                                             exclusions)

       From the beginning of the
       fiscal year to filing date: From                          to   Filing date              None                            $
                                               MM / DD / YYYY


      For prior year:                From                        to                           None                             $
                                               MM / DD / YYYY         MM / DD / YYYY


       For the year before that:      From                       to                            None                            $
                                               MM / DD / YYYY         MM / DD / YYYY




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           Name



 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

      3. Certain payments or transfers to creditors within 90 days before filing this case

        List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
        filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825 . (This amount may be adjusted on 4/01/22
        and every 3 years after that with respect to cases filed on or after the date of adjustment.)

            None

               Creditor’s name and address                                                                          Reasons for payment or transfer
                                                                   Dates            Total amount or value
                                                                                                                    Check all that apply
           3.1 See Attachment: Part 2 Question 3                   Various           $              1,574,920.69             Secured debt
               Creditor's Name
                                                                                                                             Unsecured loan repayments

                                                                                                                             Suppliers or vendors
               Street
                                                                                                                             Services

                                                                                                                             Other


               City                   State          ZIP Code



               Country




 4.           Payments or other transfers of property made within 1 year before filing this case that benefited any insider


              List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
              guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
              $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
              adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
              and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
              any managing agent of the debtor. 11 U.S.C. § 101(31).
                     None

              Insider's Name and Address                        Dates          Total amount or value           Reason for payment or transfer

          4.1 See Attachment: Part 2 Question 4                 Various         $             1,406,342.67
              Insider's Name




              Street




              City                  State         ZIP Code



              Country


              Relationship to Debtor




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          Name

 5.     Repossessions, foreclosures, and returns

        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
        sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


        5 None

        Creditor's Name and Address                             Description of the Property                 Date                 Value of property

          5.1                                                                                                                     $
                Creditor's Name



                Street




                City                  State       ZIP Code



                Country



   6.   Setoffs

        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
        of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
        debt.

        5 None

                Creditor's Name and Address                  Description of the action creditor took     Date action was taken        Amount

          6.1                                                                                                                         $
                Creditor's Name



                Street

                                                                Last 4 digits of account number: XXXX–


                City              State        ZIP Code



                Country




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           Name


 Part 3:        Legal Actions or Assignments

 7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity—within 1 year before filing this case.
            None

                  Case title                          Nature of case                   Court or agency’s name and address                  Status of case
               See Attachment: Part 3, Question
           7.1 7                                                                                                                                Pending
                                                                                      Name
                                                                                                                                                On appeal

                                                                                                                                                Concluded
                                                                                      Street

                  Case number


                                                                                      City                      State   ZIP Code


                                                                                      Country




 8.   Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
      of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      5 None
                Custodian’s name and address                   Description of the Property               Value
          8.1                                                                                        $
                Custodian’s name                                                                         Court name and address
                                                               Case title
                Street                                                                                   Name




                                                               Case number                               Street

                City               State          ZIP Code



                Country                                        Date of order or assignment               City                      State           ZIP Code



                                                                                                         Country




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           Name


 Part 4:         Certain Gifts and Charitable Contributions
 9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
      of the gifts to that recipient is less than $1,000

      5 None

                                                              Description of the gifts or
                 Recipient’s name and address                                                    Dates given         Value
                                                              contributions
           9.1                                                                                                        $
                 Creditor's Name


                 Street




                 City                 State        ZIP Code


                 Country

                  Recipient’s relationship to debtor




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         Page 6
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           Name


 Part 5:         Certain Losses
 10.      All losses from fire, theft, or other casualty within 1 year before filing this case.
          5 None

                                                                Amount of payments received
                                                                for the loss
                                                                If you have received payments to
                                                                cover the loss, for example, from
                                                                insurance, government
                 Description of the property lost and how the
                                                                compensation, or tort liability, list   Date of loss       Value of property lost
                 loss occurred
                                                                the total received.
                                                                List unpaid claims on Official
                                                                Form 106A/B (Schedule A/B:
                                                                Assets – Real and Personal
                                                                Property).
          10.1                                                                                                         $




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                                                               Pg 55 of 101
           Name


  Part 6:       Certain Payments or Transfers

   11.      Payments related to bankruptcy

           List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
           of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
           relief, or filing a bankruptcy case.
              None

                    Who was paid or who received the transfer?     If not money, describe any property transferred   Dates           Total amount or value

              11.1 See Attachment: Part 6 Question 11                                                                Various          $                 640,970.00


                    Address


                    Street




                    City                  State      ZIP Code



                    Country

                    Email or website address



                    Who made the payment, if not debtor?




  12. Self-settled trusts of which the debtor is a beneficiary

          List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
          case to a self-settled trust or similar device.
          Do not include transfers already listed on this statement.
          5 None

                                                                                                            Dates transfers
                   Name of trust or device                       Describe any property transferred                              Total amount or value
                                                                                                            were made
            12.1                                                                                                                 $


                   Trustee




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Debtor:     Helios and Matheson Analytics Inc.                                 Case number (if known):
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           Name

  13. Transfers not already listed on this statement

          List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
          within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial
          affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          5 None

                                                                 Description of property transferred or
                   Who received transfer?                                                                 Date transfer was
                                                                 payments received or debts paid in                           Total amount or value
                                                                                                          made
                                                                 exchange
            13.1                                                                                                               $


                   Address


                   Street




                   City                State       ZIP Code



                   Country
                   Relationship to Debtor




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           Name


  Part 7:        Previous Locations
   14.     Previous addresses

           List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
           5 Does not apply
                  Address                                                           Dates of occupancy

          14.1                                                                       From                               To
                 Street




                 City                     State               ZIP Code


                 Country




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                                                                  Pg 58 of 101
            Name


  Part 8:          Health Care Bankruptcies
  15. Health Care bankruptcies

       Is the debtor primarily engaged in offering services and facilities for:
       — diagnosing or treating injury, deformity, or disease, or
       — providing any surgical, psychiatric, drug treatment, or obstetric care?
       5 No. Go to Part 9.

             Yes. Fill in the information below.

                                                                                                                                 If debtor provides meals and
                   Facility Name and Address                  Nature of the business operation, including type of services
                                                                                                                                 housing, number of patients in
                                                              the debtor provides
                                                                                                                                 debtor’s care
            15.1
                   Facility Name




                                                              Location where patient records are maintained (if different from
                                                              facility address). If electronic, identify any service provider.
                                                                                                                                 How are records kept?
                   Street                                                                                                        Check all that apply:
                                                                                                                                     Electronically

                                                                                                                                     Paper
                   City            State           ZIP Code



                   Country




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                                                               Pg 59 of 101
           Name


 Part 9:      Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

          5 No.

             Yes. State the nature of the information collected and retained.

                    Does the debtor have a privacy policy about that information?

                       No

                        Yes


 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.

      5Yes. Does the debtor serve as plan administrator?

              No. Go to Part 10.

             5Yes. Fill in below:

                              Name of plan                                              Employer identification number of the plan

                           HELIOS AND MATHESON ANALYTICS INC TAX
                     17.1 DEFERRED SAVINGS PLAN                                         EIN: XX-XXXXXXX

                              Has the plan been terminated?
                              5 No
                                Yes




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Debtor:    Helios and Matheson Analytics Inc.                                      Case number (if known):
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          Name


 Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts

      Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
      cooperatives, associations, and other financial institutions.

      5 None


                                                                                                                 Date account was
                                                                        Last 4 digits of                                              Last balance before closing or
                 Financial institution name and address                                      Type of account     closed, sold, moved,
                                                                        account number                                                transfer
                                                                                                                 or transferred


          18.1                                                          XXXX-                Checking                                    $
                 Name
                                                                                             Savings

                                                                                             Money market
                 Street
                                                                                             Brokerage

                                                                                             Other


                 City                State            ZIP Code



                 Country



   19.    Safe deposit boxes

          List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
          filing this case.
            5 None


                                                                                Names of anyone with access                                  Does debtor still
                        Depository institution name and address                                                Description of the contents
                                                                                to it                                                        have it?



                 19.1                                                                                                                           No
                          Name

                                                                                                                                                Yes
                          Street



                                                                                Address
                          City               State               ZIP Code



                        Country




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                                                              Pg 61 of 101
          Name

  20. Off-premises storage

      List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
      building in which the debtor does business.

           None


                                                                                                                                        Does debtor still
                 Facility name and address                        Names of anyone with access to it       Description of the contents
                                                                                                                                        have it?



          20.1 Allstate Information Management                    James Antoine (employee)                Books and records                No
                 Name

                 80 Beckwith Avenue                                                                                                     5 Yes
                 Street




                 Paterson           NJ             07503          Address
                 City               State          ZIP Code

                 800-225-1080
                 Country




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          Name


 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
      trust. Do not list leased or rented property.
      5 None

                 Owner’s name and address                 Location of the property       Description of the property          Value

          21.1                                                                                                            $
                 Name


                 Street




                 City            State         ZIP Code



                 Country




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           Name


  Part 12:        Details About Environmental Information
  For the purpose of Part 12, the following definitions apply:
  
          Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
          regardless of the medium affected (air, land, water, or any other medium).
  
          Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
          formerly owned, operated, or utilized.
  
          Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
          or a similarly harmful substance.
  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       5 No

             Yes. Provide details below.

                   Case title                        Court or agency name and address                      Nature of the case               Status of case

           22.1                                                                                                                                 Pending
                                                     Name
                                                                                                                                                On appeal
                                                                                                                                                Concluded
                                                     Street



                  Case Number


                                                     City                State           ZIP Code



                                                     Country


 23.      Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of
          an environmental law?

          5 No

              Yes. Provide details below.

                                                               Governmental unit name and
                  Site name and address                                                                      Environmental law, if known     Date of notice
                                                               address
           23.1
                  Name                                         Name


                  Street                                       Street




                  City             State           ZIP Code    City              State          ZIP Code



                  Country                                      Country




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                                                                Pg 64 of 101
           Name

  24.     Has the debtor notified any governmental unit of any release of hazardous material?

          5 No

             Yes. Provide details below.

                  Site name and address                    Governmental unit name and address    Environmental law, if known   Date of notice

           24.1
                  Name                                     Name


                  Street                                   Street




                  City          State           ZIP Code   City         State        ZIP Code



                  Country                                  Country




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           Name


  Part 13:     Details About the Debtor’s Business or Connections to Any Business
  25. Other businesses in which the debtor has or has had an interest
       List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
       case.Include this information even if already listed in the Schedules.
             None
                                                                                                    Employer Identification number
                  Business name and address                   Describe the nature of the business
                                                                                                    Do not include Social Security number or ITIN.
                                                              Back office services for Helios and
          25.1 Helios and Matheson Global Services Pvt Ltd    Matheson Analytics Inc.               EIN: N/A
               Name
                                                                                                    Dates business existed
               #306, 3rd Floor, Beta Block, Sigma Tech Park                                         From Unknown               To Present
               Street

               Varthur Kodi, Whitefield Road

               Bangalore              560066
               City                   State      ZIP Code

               India
               Country


                                                                                                    Employer Identification number
                  Business name and address                   Describe the nature of the business
                                                                                                    Do not include Social Security number or ITIN.
                                                              Provider of GPS based security
          25.2 Zone Technologies Inc.                         information                           EIN: XX-XXXXXXX
               Name
                                                                                                    Dates business existed
               444 Brickell Avenue                                                                  From 2015                  To Present
               Street




               Miami                  FL
               City                   State      ZIP Code



               Country


                                                                                                    Employer Identification number
                  Business name and address                   Describe the nature of the business
                                                                                                    Do not include Social Security number or ITIN.
          25.3 MoviePass, Inc.                                Movie ticket sales                    EIN: XX-XXXXXXX
               Name
                                                                                                    Dates business existed
               350 Fifth Avenue, Suite 5330                                                         From 2011                  To Present
               Street




               New York               NY         10118
               City                   State      ZIP Code



               Country




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                                                                     Pg 66 of 101
           Name

                                                                                                                   Employer Identification number
                  Business name and address                        Describe the nature of the business
                                                                                                                   Do not include Social Security number or ITIN.
          25.4 MoviePass Ventures LLC                              Investor in movie distribution               EIN: XX-XXXXXXX
               Name
                                                                                                                   Dates business existed
               350 Fifth Avenue, Suite 5330                                                                     From 2018                     To Present
               Street




               New York               NY                10118
               City                   State             ZIP Code



               Country


                                                                                                                   Employer Identification number
                  Business name and address                        Describe the nature of the business
                                                                                                                   Do not include Social Security number or ITIN.
          25.5 MoviePass Entertainment Holdings, Inc.              Shell entity, no operations                  EIN: XX-XXXXXXX
               Name
                                                                                                                   Dates business existed
               350 Fifth Avenue, Suite 5330                                                                     From 2018                     To Present
               Street




               New York               NY                10118
               City                   State             ZIP Code



               Country


                                                                                                                   Employer Identification number
                  Business name and address                        Describe the nature of the business
                                                                                                                   Do not include Social Security number or ITIN.
          25.6 MoviePass Films LLC                                 Movie production, ownership                  EIN: XX-XXXXXXX
               Name
                                                                                                                   Dates business existed
               8200 Wilshire Boulevard                                                                          From 2018                     To Present
               Street




               Beverly Hills          CA                90211
               City                   State             ZIP Code



               Country



 26. Books, records, and financial statements

      26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None

                  Name and Address                                                               Dates of service

          26a.1 Helios & Matheson Analytics Inc.                                                 From   1/1/2018                       To present
                  Name
                  350 Fifth Avenue
                  Street




                  New York                      NY                        10118
                  City                          State                     ZIP Code


                  Country




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          Name

      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
 26b. statement within 2 years before filing this case.

             None
                   Name and Address                                               Dates of service

           26b.1 Rosenberg Rich Baker Berman & Company                            From      Jan 2017                 To    Dec 2018
                   Name

                   265 Davidson Ave, Suite 210
                   Street



                   Somerset                NJ               08873
                   City                    State            ZIP Code


                   Country

           26b.2 Centri Business Consulting, LLC                                  From      Jan 2017                 To    Dec 2018
                   Name

                   651 Township Line Road, #1663
                   Street



                   Blue Bell               PA               19422
                   City                    State            ZIP Code


                   Country


  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None

                                                                                                       If any books of account and records are
                 Name and address
                                                                                                       unavailable, explain why

          26c.1 Helios and Matheson Analytics Inc.
                 Name

                 350 Fifth Avenue
                 Street




                 New York                                       NY               10118
                 City                                           State            ZIP Code



                 Country




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          Name

  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
       statement within 2 years before filing this case.

           5 None

                        Name and address

            26d.1
                        Name



                        Street




                        City                                             State         ZIP Code



                        Country


 27. Inventories

      Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       5 No

           Yes. Give the details about the two most recent inventories.

                                                                                       Date of         The dollar amount and basis (cost, market, or
                 Name of the person who supervised the taking of the inventory
                                                                                       Inventory       other basis) of each inventory
                                                                                                       $


                 Name and address of the person who has possession of inventory
                 records
          27.1
                 Name



                 Street




                 City                 State                   ZIP Code



                 Country



 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

                 Name                               Address                                        Position and Nature of any       % of interest, if any
                                                                                                   interest
                                                    350 Fifth Avenue, Suite 5330, New York, NY
          28.1 Parthasarathy Krishnan               10118                                          CEO                              None

                                                    350 Fifth Avenue, Suite 5330, New York, NY
          28.2 Robert Damon                         10118                                          Interim CFO                      None

                                                    350 Fifth Avenue, Suite 5330, New York, NY
          28.3 Prathap Singh                        10118                                          Board Director                   None

                                                    350 Fifth Avenue, Suite 5330, New York, NY
          28.4 Joseph J Fried                       10118                                          Board Director                   None

                                                    350 Fifth Avenue, Suite 5330, New York, NY
          28.5 Gavriel Ralbag                       10118                                          Board Director                   None




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           Name

                                                           350 Fifth Avenue, Suite 5330, New York, NY
           28.6 Muralikrishna Gadiyaram                    10118                                          Board Director                  Less than 1%


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members
     in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

             No

          5 Yes. Identify below.

                                                                                                  Position and Nature of   Period during which position or
               Name                                  Address
                                                                                                  any interest             interest was held
                                                     350 Fifth Avenue, Suite 5330, New York, NY                            From               To
          29.1 Theodore J Farnsworth                  10118                                       CEO                             1/1/2019         9/15/2019

                                                     350 Fifth Avenue, Suite 5330, New York, NY                            From               To
          29.2 Stuart Benson                          10118                                       CFO                             1/1/2019         3/31/2019


  30. Payments, distributions, or withdrawals credited or given to insiders
          Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
          bonuses, loans,credits on loans, stock redemptions, and options exercised?
              No
          5 Yes. Identify below.

                                                                            Amount of money
                    Name and address of recipient                           or description and    Dates                     Reason for providing the value
                                                                            value of property

            30.1 See Attachment: Part 2 Question 4
                    Name


                    Street




                    City                     State             ZIP Code


                    Country

                    Relationship to debtor



  31.     Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

             No

          5 Yes. Identify below.

                  Name of the parent corporation                                        Employer Identification number of the parent corporation

           31.1 Helios and Matheson Analytics Inc.                                     EIN: XX-XXXXXXX


   32.     Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           5 No

              Yes. Identify below.

                     Name of the pension fund                                        Employer Identification number of the pension fund

             32.1                                                                    EIN:




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WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.

18 U.S.C.§§ 152, 1341, 1519, and 3571.


I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on       01/28/2020
                    MM / DD / YYYY




      / s / Robert Damon
                                                                                    Printed name Robert Damon

     Signature of individual signing on behalf of the debtor


     Position or relationship to debtor   Authorized Officer


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

        No

5       Yes
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                                                                            Attachment 3
                                                     Certain payments or transfers to creditors within 90 days before filing this case


Creditor's Name                       Address                             Dates        Amount or value            Total                   transfer               If Other…
American Arbitration Association      120 Broadway, Floor 21              11/13/2019 $                 4,200.00                           Services
                                      New York, NY 10271                  11/25/2019 $                 2,800.00                           Services
                                                                           12/4/2019 $                 1,400.00                           Services
                                                                                                                  $            8,400.00

American Express                      P.O. BOX 1270                       11/13/2019    $             30,536.41                           Suppliers or Vendors
                                      Newark, NJ 07101‐1270               11/14/2019    $              5,391.67                           Suppliers or Vendors
                                                                          12/11/2019    $              4,258.11                           Suppliers or Vendors
                                                                          12/11/2019    $             11,453.63                           Suppliers or Vendors
                                                                                                                  $           51,639.82

BARRY WIEDERMAN                       129 Manor Street                    11/15/2019    $              5,550.00                           Services
                                      Plainview, NY 11803                  12/6/2019    $              8,733.25                           Services
                                                                          12/16/2019    $             11,268.75                           Services
                                                                           1/10/2020    $              5,456.25                           Services
                                                                           1/23/2020    $              3,150.00                           Services
                                                                           1/24/2020    $              1,050.00                           Services
                                                                                                                  $           35,208.25

Cassel Salpeter & Co., LLC            801 Brickell Avenue                 10/30/2019    $             25,000.00                           Other                  Bankruptcy Payments
                                      Suite 1900                           11/8/2019    $              1,109.57                           Other                  Bankruptcy Payments
                                      Miami, FL 33131                      12/4/2019    $             27,150.00                           Other                  Bankruptcy Payments
                                                                          12/23/2019    $             25,000.00                           Other                  Bankruptcy Payments
                                                                           1/24/2020    $             25,000.00
                                                                                                                  $         103,259.57

ESRT Empire State Building, LLC       111 West 33rd Street 12th Floor     10/31/2019 $                20,574.59                           Suppliers or Vendors
                                      New York, NY 10120
                                                                                                                  $           20,574.59

FIRST INSURANCE FUNDING CORP.         450 Skokie Blvd, Ste 1000           10/30/2019    $              8,115.51                           Suppliers or Vendors
                                      Northbrook, IL 60062‐7917           11/25/2019    $              8,115.51                           Suppliers or Vendors
                                                                          12/20/2019    $              8,115.51                           Suppliers or Vendors
                                                                           1/21/2020    $             68,899.96                           Suppliers or Vendors
                                                                            1/9/2020    $              8,115.51                           Suppliers or Vendors
                                                                                                                  $         101,362.00

Greenberg Traurig, LLP                1840 Century Park East, Suite 1900 11/4/2019      $             10,000.00                           Services
                                      Los Angeles, California 90067      12/18/2019     $             30,000.00                           Services
                                                                          1/21/2020     $             15,000.00                           Services
                                                                          1/23/2020     $             20,100.00                           Services
                                                                                                                  $           75,100.00
                                            ,        ,          , g
Helios and Matheson Global Services   Tech Park, Varthur Kodi, Whitefield 10/25/2019 $                 7,559.00                           Other                  Intercompany
                                      Road, Bangalore 560066               12/3/2019 $                26,000.00                           Other                  Intercompany
                                      India                               12/27/2019 $                18,000.00                           Other                  Intercompany
                                                                                                                  $           51,559.00




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                                                   Certain payments or transfers to creditors within 90 days before filing this case


Creditor's Name                    Address                              Dates        Amount or value             Total                  transfer               If Other…
Kenneth A. Zitter, Esq             260 Madison Avenue                   11/11/2019 $                 10,000.00                          Services
                                   New York, NY 10016                   12/27/2019 $                 15,000.00                          Services
                                                                                                                 $          25,000.00

Kurtzman Carson Consultants LLC    1290 Avenue of the Americas, 9th     12/16/2019 $                 25,000.00                          Other                  Bankruptcy Payments
                                   New York, NY 10104                                                            $          25,000.00

MORVILLO ABRAMOWITZ GRAND IASON & 565 Fifth Avenue                       12/2/2019 $                 50,000.00                          Services
                                  New York, NY 10017                    12/12/2019 $                 20,000.00                          Services
                                                                         1/23/2020 $                 14,479.00                          Services
                                                                                                                 $          84,479.00
MoviePass Inc.                     350 Fifth Avenue, Suite 5330         11/15/2019 $                 50,000.00                          Other                  Intercompany
                                   New York, NY 10118                   11/25/2019 $                 20,000.00                          Other                  Intercompany
                                                                          1/9/2020 $                 20,000.00                          Other                  Intercompany
                                                                                                                 $          90,000.00

NFP Property & Casualty Services   45 Executive Drive                   12/12/2019 $                206,286.70                          Other                  Insurance Broker
                                   Plainview, NY 11803                                                           $        206,286.70

Nixon Peabody LLP                  55 West 46th Street                   12/9/2019 $                 50,000.00                          Services
                                   New York, NY 10036‐4120                                                       $          50,000.00

Oxford Health Plans                PO Box 1697                          11/26/2019 $                 34,800.42                          Suppliers or Vendors
                                   Newark, NJ 07101‐1697                 12/6/2019 $                 84,356.22                          Suppliers or Vendors
                                                                                                                 $        119,156.64

PREDICT LLC                        One World Trade Center‐Ste 8500       1/10/2020 $                 15,000.00                          Suppliers or Vendors
                                   New York, NY 10007                    1/24/2020 $                 15,000.00                          Suppliers or Vendors
                                                                                                                 $          30,000.00

RSR Consulting, LLC                1330 Avenue of the Americas           11/8/2019    $              14,368.50                          Other                  Bankruptcy Payments
                                   Suite 23A                            11/25/2019    $              13,781.50                          Other                  Bankruptcy Payments
                                   New York, NY 10019                    12/6/2019    $               4,971.00                          Other                  Bankruptcy Payments
                                                                        12/13/2019    $               8,970.00                          Other                  Bankruptcy Payments
                                                                        12/17/2019    $              18,913.50                          Other                  Bankruptcy Payments
                                                                        12/31/2019    $              14,385.00                          Other                  Bankruptcy Payments
                                                                         1/13/2020    $              16,431.50                          Other                  Bankruptcy Payments
                                                                         1/21/2020    $              13,370.00                          Other                  Bankruptcy Payments
                                                                         1/23/2020    $              14,980.00                          Other                  Bankruptcy Payments
                                                                                                                 $        120,171.00

SYNCSORT                           2 Blue Hill Plaza #1563              11/20/2019 $                  3,800.00                          Services
                                   Pearl River, NY 10965                12/19/2019 $                  3,887.42                          Services
                                                                                                                 $           7,687.42

TSI (Teqnical Services, Inc.)      PO Box 303                           10/30/2019 $                 15,000.00                          Services
                                   Quaker Hill, CT 06375                 1/16/2020 $                 15,000.00                          Services
                                                                                                                 $          30,000.00



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                                                Certain payments or transfers to creditors within 90 days before filing this case


Creditor's Name                  Address                             Dates        Amount or value             Total                  transfer            If Other…
Togut, Segal & Segal LLP         One Penn Plaza, Suite 3335          10/30/2019    $              35,000.00                          Other               Bankruptcy Payments
                                 New York, NY 10119                  11/25/2019    $              32,684.70                          Other               Bankruptcy Payments
                                                                      12/6/2019    $              49,852.00                          Other               Bankruptcy Payments
                                                                     12/16/2019    $             100,000.00                          Other               Bankruptcy Payments
                                                                     12/20/2019    $              50,000.00                          Other               Bankruptcy Payments
                                                                      1/13/2020    $              25,000.00                          Other               Bankruptcy Payments
                                                                      1/22/2020    $              25,000.00                          Other               Bankruptcy Payments
                                                                                                              $        317,536.70

Walker Stevens Cannom LLP        500 Molino Street, Suite 118         12/3/2019 $                  7,500.00                          Services
                                 Los Angeles, CA 90013               12/12/2019 $                 15,000.00                          Services
                                                                                                              $          22,500.00



Grand Total                                                                        $        1,574,920.69 $            1,574,920.69




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                         Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                   Total Amount or        Reasons for payment or
Insider's name                                Address                   Dates           Value                   transfer                  Relationship to Debtor
Theodore J Farnsworth             350 Fifth Avenue                     1/15/2019   $     15,397.44    Payroll                            Officer
                                  Suite 5330                           1/31/2019   $     14,541.67    Payroll                            Officer
                                  New York, NY 10118                   2/15/2019   $     14,541.67    Payroll                            Officer
                                                                       2/28/2019   $     14,541.67    Payroll                            Officer
                                                                       3/15/2019   $     14,541.67    Payroll                            Officer
                                                                       3/29/2019   $     14,541.67    Payroll                            Officer
                                                                        4/9/2019   $    250,000.00    Payroll                            Officer
                                                                       4/15/2019   $     14,541.67    Payroll                            Officer
                                                                       4/30/2019   $     14,541.67    Payroll                            Officer
                                                                       5/15/2019   $     14,541.67    Payroll                            Officer
                                                                       5/31/2019   $     14,541.67    Payroll                            Officer
                                                                       6/14/2019   $     14,541.67    Payroll                            Officer
                                                                       6/28/2019   $     14,541.67    Payroll                            Officer
                                                                       7/15/2019   $     14,541.67    Payroll                            Officer
                                                                       7/31/2019   $     14,541.67    Payroll                            Officer
                                                                       8/15/2019   $     14,541.67    Payroll                            Officer
                                                                       9/13/2019   $        14,167    Payroll                            Officer
                                                                                   $       483,147

Parthasarathy Krishnan            350 Fifth Avenue                     1/15/2019 $         9,375.00 Payroll                              Officer
                                  Suite 5330                           1/31/2019 $         9,375.00 Payroll                              Officer
                                  New York, NY 10118                   2/15/2019    $     9,375.00    Payroll                            Officer
                                                                       2/28/2019    $     9,375.00    Payroll                            Officer
                                                                       3/15/2019    $     9,375.00    Payroll                            Officer
                                                                       3/29/2019    $     9,375.00    Payroll                            Officer
                                                                       4/15/2019    $     9,375.00    Payroll                            Officer
                                                                       4/30/2019    $     9,375.00    Payroll                            Officer
                                                                       5/15/2019    $     9,375.00    Payroll                            Officer
                                                                       5/31/2019    $     9,375.00    Payroll                            Officer
                                                                       6/14/2019    $     9,375.00    Payroll                            Officer
                                                                       6/28/2019    $     9,375.00    Payroll                            Officer
                                                                       7/15/2019    $     9,375.00    Payroll                            Officer
                                                                       7/31/2019    $     9,375.00    Payroll                            Officer
                                                                       8/15/2019    $     9,375.00    Payroll                            Officer
                                                                       9/30/2019    $     9,375.00    Payroll                            Officer
                                                                      10/15/2019    $    18,750.00    Payroll                            Officer
                                                                      10/30/2019    $     6,000.00    Advance on Expense                 Officer
                                                                      10/31/2019    $     9,375.00    Payroll                            Officer
                                                                      11/15/2019    $     9,375.00    Payroll                            Officer
                                                                      11/29/2019    $    18,750.00    Payroll                            Officer
                                                                      12/13/2019    $     9,375.00    Payroll                            Officer
                                                                      12/20/2019    $     9,375.00    Payroll                            Officer
                                                                                    $   231,000.00




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                                             In re: Helios and Matheson Analytics Inc.
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                                                            Pg  75 of 101
                                                            Attachment 4
                    Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                              Total Amount or        Reasons for payment or
Insider's name                           Address                   Dates           Value                   transfer                  Relationship to Debtor
Stuart Benson                350 Fifth Avenue                     1/15/2019   $     14,385.00    Payroll                            Officer
                             Suite 5330                           1/15/2019   $     12,635.42    Payroll                            Officer
                             New York, NY 10118                   1/31/2019   $     12,635.42    Payroll                            Officer
                                                                  2/15/2019   $     12,635.42    Payroll                            Officer
                                                                  2/28/2019   $     12,635.42    Payroll                            Officer
                                                                  3/15/2019   $     12,635.42    Payroll                            Officer
                                                                  3/29/2019   $     10,373.08    Payroll                            Officer
                                                                              $     87,935.18

Robert Damon                 350 Fifth Avenue                     4/15/2019 $        18,750.00 Payroll                              Officer
                             Suite 5330                           4/30/2019 $        18,750.00 Payroll                              Officer
                             New York, NY 10118                   5/15/2019    $    18,750.00    Payroll                            Officer
                                                                  5/31/2019    $    18,750.00    Payroll                            Officer
                                                                   6/5/2019    $    30,000.00    Payroll                            Officer
                                                                  6/14/2019    $    18,750.00    Payroll                            Officer
                                                                  6/28/2019    $    18,750.00    Payroll                            Officer
                                                                  7/15/2019    $    18,750.00    Payroll                            Officer
                                                                  7/31/2019    $    18,750.00    Payroll                            Officer
                                                                  8/15/2019    $    18,750.00    Payroll                            Officer
                                                                  9/13/2019    $    18,750.00    Payroll                            Officer
                                                                 10/15/2019    $    31,875.00    Payroll                            Officer
                                                                 10/31/2019    $    13,125.00    Payroll                            Officer
                                                                 11/15/2019    $    13,125.00    Payroll                            Officer
                                                                 11/29/2019    $    31,875.00    Payroll                            Officer
                                                                               $   307,500.00

Prathap Singh                350 Fifth Avenue                     3/31/2019 $         7,500.00 Board Fee                            Director of the Board
                             Suite 5330                           6/30/2019 $         7,500.00 Board Fee                            Director of the Board
                             New York, NY 10118                   9/30/2019 $         7,500.00 Board Fee                            Director of the Board
                                                                 12/31/2019 $         7,500.00 Board Fee                            Director of the Board
                                                                            $        33,010.00 Expense Reimbursement                Director of the Board
                                                                            $        63,010.00

Joseph J Fried               350 Fifth Avenue                     3/31/2019 $         7,500.00 Board Fee                            Director of the Board
                             Suite 5330                           6/30/2019 $         7,500.00 Board Fee                            Director of the Board
                             New York, NY 10118                   9/30/2019 $         7,500.00 Board Fee                            Director of the Board
                                                                 12/31/2019 $         7,500.00 Board Fee                            Director of the Board
                                                                                               Board Fee paid on behalf of
                                                                  3/31/2019 $         5,000.00 Movie Pass Films                     Director of the Board
                                                                            $        35,000.00




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                                                                  Attachment 4
                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                  Total Amount or     Reasons for payment or
Insider's name                                 Address                   Dates         Value                transfer                       Relationship to Debtor
Gavriel Ralbag                     350 Fifth Avenue                     3/31/2019 $      7,500.00 Board Fee                               Director of the Board
                                   Suite 5330                           6/30/2019 $      7,500.00 Board Fee                               Director of the Board
                                   New York, NY 10118                   9/30/2019 $         7,500.00 Board Fee                            Director of the Board
                                                                       12/31/2019 $         7,500.00 Board Fee                            Director of the Board
                                                                                  $        30,000.00

Muralikrishna Gadiyaram            350 Fifth Avenue                   03/22/2019 $       112,500.00    Consulting Agreement               Director of the Board
                                   Suite 5330                         04/16/2019 $        18,750.00    Consulting Agreement               Director of the Board
                                   New York, NY 10118                   6/12/2019 $       18,750.00    Consulting Agreement               Director of the Board
                                                                                  $       18,750.00    Consulting Agreement               Director of the Board
                                                                                  $      168,750.00



Grand Total                                                                          $ 1,406,342.67




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                                                                     In re: Helios and Matheson Analytics Inc.
                                                                                    Attachment 7
                                           Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



                                                                                                                                                                 Status of case
                                                                                                                                                                 (e.g. Pending,
                                                                                                                                                                   On appeal,
                          Case Title                                  Case number                      Nature of case                   Court name and Address     Concluded)
                                                                                                                            United States District Court
                                                                                                                            Southern District of New York
                                                                                                                            United States Courthouse
                                                                                                                            500 Pearl Street
                                                                                                                            New York, NY 10007

                                                                                                                            United States District Court
                                                                                                                            Southern District of New York
    Jeffrey Chang v. Helios and Matheson Analytics, Inc.                                                                    United States Courthouse
    et al. ("Helios") Jeffrey Braxton v. Helios and                                                                         40 Foley Square
    Matheson Analytics, Inc. et al. (Consolidated into one Chang Case No. 1:18-cv-6965                                      New York, NY 10007
1   class action)                                          Braxton Case No. 1:18-cv-07242-UA      Securities                                                        Pending
                                                                                                                            New York County Courthouse
                                                                                                                            60 Centre Street
                                                                                                                            New York, NY 10007

2   Yu Chen v. Helios, et al.                             Index No. 654686/2018                   Securities                                                        Pending
                                                                                                                            New York County Courthouse
                                                                                                                            60 Centre Street
                                                                                                                            New York, NY 10007
3   Timour Prokpiev v. Helios, et al.                     Index No. 655939/2018                   Securities                                                        Pending
                                                                                                                            New York County Courthouse
                                                                                                                            60 Centre Street
4   David J. Lichter, a purported stockholder of Helios   Index No. 650275/2019                   Securities                New York, NY 10007                      Pending
                                                                                                                            Office of the Clerk
                                                                                                                            United States District Court
    Jackie Tabas and Katherine Rosenberg-Wohl, acting                                                                       Northern District of California
    on behalf of themselves and others similarly situated                                                                   450 Golden Gate Avenue
5   v. MoviePass, et al.                                  Case No. 3:18-cv-7087                   Securities                San Francisco, CA 94102-3489            Pending
                                                                                                                            United States District Court
                                                                                                                            Southern District of New York
                                                                                                                            United States Courthouse
                                                                                                                            500 Pearl Street
                                                                                                                            New York, NY 10007

                                                                                                                            United States District Court
                                                                                                                            Southern District of New York
                                                                                                                            United States Courthouse
    Lawrence Weinberger and Laurie Weinberger v.                                                                            40 Foley Square
6   MoviePass Inc.                                        Case No. 1:19-cv-01039                  Contract                  New York, NY 10007                      Pending




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                                                                                                                                                                      Status of case
                                                                                                                                                                      (e.g. Pending,
                                                                                                                                                                        On appeal,
                            Case Title                                     Case number                      Nature of case                   Court name and Address     Concluded)
                                                                                                                                 United States District Court
                                                                                                                                 Southern District of New York
                                                                                                                                 United States Courthouse
                                                                                                                                 500 Pearl Street
                                                                                                                                 New York, NY 10007

                                                                                                                                 United States District Court
                                                                                                                                 Southern District of New York
                                                                                                                                 United States Courthouse
                                                                                                                                 40 Foley Square
7    John P. Dash v. Helios, et al.                            Case No. 1:19-cv-02863                  Securities                New York, NY 10007                      Pending
                                                                                                                                 United States District Court
                                                                                                                                 Southern District of New York
                                                                                                                                 United States Courthouse
                                                                                                                                 500 Pearl Street
                                                                                                                                 New York, NY 10007

                                                                                                                                 United States District Court
                                                                                                                                 Southern District of New York
                                                                                                                                 United States Courthouse
                                                                                                                                 40 Foley Square
8    Genadi Ignatov, et al. v. Helios, et al.                  Case No. 1:19-cv-5728                   Securities                New York, NY 10007                      Pending
                                                                                                                                 New York County Courthouse
     Madison Global Partners LLC v. MoviePass and                                                                                60 Centre Street
9    Madison Global Partners LLC v. Helios                     Index Nos. 653748/2019; 653747/2019 Contract                      New York, NY 10007                      Pending
     Oasis Ventures Entertainment Partners, LLC and
     Emmett Furla Films Partners, LLC v. MoviePass                                                                               Stanley Mosk Courthouse
     Films; Helios; Theodore Farnsworth; DOES 1 through                                                                          111 North Hill Street
10   50, inclusive                                             Case No. 19STCV37040                    Contract                  Los Angeles, CA 90012                   Pending
11   Gravity Capital Partners v. HMNY                                                                                                                                    Pending
     Madison Geery v. MoviePass Inc., Helios and                                                                                 New York County Courthouse
     Matheson Analytics Inc., Robert Ellis Silberstein,                                                Employment                60 Centre Street
12   Mitch Lowe and Theodore "Ted" Farnsworth                  Index No. 150002/2020                   Discrimination            New York, NY 10007                      Pending
     Creditors Adjustment Bureau, Inc. v. Helios and                                                                             Superior Court of California
     Matheson Analytics Inc. dba MoviePass Redzone                                                                               County of Los Angeles
     Technologies; Theodore Farnsworth aka Theodore J.                                                                           Santa Monica Courthouse
     Farnsworth aka Theodore Joseph Farnsworth aka                                                                               1725 Main Street
13   Ted Farnsworth; and Does 1 through 10, Inclusive          Case No. 19SMCV02217                    Collection                Santa Monica, CA 90401                  Pending




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                                                                                                                                                                              Status of case
                                                                                                                                                                              (e.g. Pending,
                                                                                                                                                                                On appeal,
                           Case Title                                  Case number                      Nature of case                   Court name and Address                 Concluded)
                                                                                                                             Zachary A. Keller
                                                                                                                             Attorney
                                                                                                                             Federal Trade Commission
                                                                                                                             Southwest Region
                                                                                                                             1999 Bryan St. Suite 2150
14   Federal Trade Commission                                                                      Investigation             Dallas, TX 75201                                    Pending

                                                                                                                             Gary E. Koeppel, Esq.
                                                                                                                             John Ortiz, Esq.
                                                                                                                             Deputy District Attorneys
                                                                                                                             Contra Costa County District Attorney’s Office
                                                                                                                             900 Ward Street
                                                                                                                             Martinez, California 94553-1708

                                                                                                                             Stephen Maier, Esq.
                                                                                                                             Deputy District Attorney
                                                                                                                             San Joaquin County District Attorney’s Office
                                                                                                                             222 E. Weber Avenue #202
                                                                                                                             Stockton, California 95202-2709

                                                                                                                             Caroline Fowler, Esq.
                                                                                                                             Matt Cheever, Esq.
                                                                                                                             Deputy District Attorneys
                                                                                                                             Sonoma County District Attorney’s Office
                                                                                                                             600 Administration Drive, Room 212J
                                                                                                                             Santa Rosa, California 95403-2870

                                                                                                                             Danny Lo, Esq.
                                                                                                                             Deputy District Attorney
                                                                                                                             Ventura County District Attorney’s Office
                                                                                                                             5720 Ralston Street, Suite 300
15   California District Attorney Offices                                                          Investigation             Ventura, California 93003-7843                      Pending
                                                                                                                             Stewart C. Dearing
                                                                                                                             Assistant Attorney General
                                                                                                                             28 Liberty Street
16   New York Attorney General                                                                     Investigation             New York, NY 10005                                  Pending




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                                          Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



                                                                                                                                                                Status of case
                                                                                                                                                                (e.g. Pending,
                                                                                                                                                                  On appeal,
                        Case Title                                   Case number                      Nature of case                   Court name and Address     Concluded)
                                                                                                                           United States Attorney’s Office
                                                                                                                           Eastern District of New York
                                                                                                                           271 Cadman Plaza East
                                                                                                                           Brooklyn, New York 11201

                                                                                                                           U.S. Department of Justice
                                                                                                                           950 Constitution Ave., NW
17   Securities and Exchange Commission                                                          Investigation             Washington, DC 20530                    Pending




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                                                                         In re: Helios and Matheson Analytics Inc.
                                                                                       Attachment 11
                                                                                   Payments related to bankruptcy



                                                                                                                                                     If not money,
                                                                                                                                   Who made the      describe any
Who was paid or who                                                                                                                payment, if not   property                   Total amount or
received the transfer?       Address 1           Address 2       City      State     Zip       Email or website address            debtor            transferred     Dates      value
Cassel Salpeter & Co., LLC   801 Brickell Avenue Suite 1900      Miami     FL        33131     https://www.casselsalpeter.com/                                       10/30/2019        $25,000.00
                                                                                                                                                                     11/8/2019          $1,110.00
                                                                                                                                                                     12/4/2019         $27,150.00
                                                                                                                                                                     12/23/2019        $25,000.00
                                                                                                                                                                     1/24/2020         $25,000.00
                                                                                                                                                                     TOTAL           $103,260.00

Kurtzman Carson              1290 Avenue of the
Consultants LLC              Americas             9th Floor      New York NY         10104     http://www.kccllc.com/                                                12/16/2019       $25,000.00
                                                                                                                                                                     TOTAL            $25,000.00

                             1330 Avenue of the
RSR Consulting, LLC          Americas             Suite 23A      New York NY         10019     https://www.rsrconsultingllc.com/                                     10/24/2019       $25,000.00
                                                                                                                                                                     11/8/2019        $14,368.50
                                                                                                                                                                     11/25/2019       $13,781.50
                                                                                                                                                                     12/6/2019         $4,971.00
                                                                                                                                                                     12/13/2019        $8,970.00
                                                                                                                                                                     12/17/2019       $18,913.50
                                                                                                                                                                     12/31/2019       $14,385.00
                                                                                                                                                                     1/3/2020         $16,431.50
                                                                                                                                                                     1/21/2020        $13,370.00
                                                                                                                                                                     1/23/2020        $14,980.00
                                                                                                                                                                     TOTAL           $145,173.00

Togut, Segal & Segal LLP     One Penn Plaza       Suite 3335     New York NY         10119     https://www.togutlawfirm.com/                                         10/11/2019       $50,000.00
                                                                                                                                                                     10/30/2019       $35,000.00
                                                                                                                                                                     11/25/2019       $32,685.00
                                                                                                                                                                     12/6/2019        $49,852.00
                                                                                                                                                                     12/16/2019      $100,000.00
                                                                                                                                                                     12/20/2019       $50,000.00
                                                                                                                                                                     1/13/2020        $25,000.00
                                                                                                                                                                     1/22/2020        $25,000.00
                                                                                                                                                                     TOTAL           $367,537.00

                                                                                                                                                                     TOTAL           $640,970.00




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                         ACTION BY WRITTEN CONSENT OF
                           THE BOARD OF DIRECTORS OF
                       HELIOS AND MATHESON ANALYTICS INC.

                                       JANAURY 28, 2020

           WHEREAS, the Board of Directors (the “Board”) of Helios and Matheson
   Analytics Inc., a Delaware corporation (the “Company”), does hereby consent to the
   taking of the following actions and does hereby adopt the following resolutions pursuant
   to the Company’s bylaws and the General Corporation Law of the State of Delaware; and

            WHEREAS, the Board have reviewed information regarding (i) the Company’s
   assets, liabilities, and liquidity, (ii) the strategic alternatives available to the Company
   and (iii) the potential impacts of the foregoing on the Company’s business; and

            WHEREAS, the Board has reviewed and evaluated the financing and
   restructuring alternatives available to the Company, and the Board has determined that it
   is in the best interests of the Company, its equity holders, its creditors, and other parties
   in interest for the Company to file a voluntary petition seeking relief under chapter 7 of
   title 11 of the United States Code (the “Code”).

           NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board it is
   desirable and in the best interests of the Company, its creditors, equityholders,
   employees, and other interested parties that a petition be filed by the Company seeking
   relief under the provisions of chapter 7 of the Code;

          FURTHER RESOLVED, that the Robert Damon, in his capacity as a duly
   appointed officer of the Company (the “Authorized Officer”), and in the name of, the
   Company is authorized to execute and verify or certify a petition under chapter 7 of the
   Code and to cause the same to be filed in the United States Bankruptcy Court for the
   Southern District of New York at such time as said officer executing the same shall
   determine and in such form or forms as the Authorized Officer may approve in the
   Authorized Officer’s sole discretion;

          FURTHER RESOLVED, that the law firm of Togut, Segal & Segal LLP
   be, and hereby is, employed as counsel for the Company in connection with the
   prosecution of the Company’s case under chapter 7 of the Code;

            FURTHER RESOLVED, that the Authorized Officer is authorized to
   prepare (or cause to be prepared), execute and file (or cause to be filed) any and all
   petitions, schedules, motions, lists, applications, pleadings, and other papers, to take any
   and all such other and further actions that the Authorized Officer or the Company’s legal
   counsel may deem necessary, desirable or appropriate in connection with filing the
   voluntary petition for relief under chapter 7 of the Code and to take and perform any and
   all further acts and deeds which they deem necessary, proper or desirable in connection
   with the chapter 7 case;
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            FURTHER RESOLVED, that the Company be, and hereby is, authorized to pay
   all fees and expenses incurred by it or for its account in connection with the actions
   approved in any or all of the foregoing resolutions, and all actions related thereto, and the
   Authorized Officer is authorized, empowered and directed to cause the Company to make
   said payments as the Authorized Officer may deem necessary, appropriate, advisable or
   desirable, such payment to constitute conclusive evidence of he Authorized Officer’s
   determination and approval of the necessity, appropriateness, advisability or desirability
   thereof; and

           FURTHER RESOLVED, that in the judgment of the Board it is desirable and in
   the best interests of the Company, its creditors, equityholders, employees, and other
   interested parties that petitions seeking relief under the provisions of chapter 7 of the
   Code be filed with respect to the Company’s subsidiaries Zone Technologies, Inc. and
   MoviePass, Inc.; and

           FURTHER RESOLVED, that to the extent that any of the actions
   authorized by any of the foregoing resolutions have been taken previously by the
   Authorized Officer or employees of the Company on its behalf, such actions are hereby
   ratified, approved and confirmed in their entirety.


                                               ****


                 The foregoing resolutions are hereby approved as an action taken by the
   Board without formal meeting, effective as of the date first written above.

   /s/Gavriel Ralbag_____________
   Gavriel Ralbag


   /s/Prathap Singh_____________
   Prathap Singh


   /s/Joseph Fried_____________
   Joseph Fried


   /s/K. Muralikrishna Gadiyaram_
   K. Muralikrishna Gadiyaram




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          )
In re:                                                    )      Chapter 7
                                                          )
HELIOS AND MATHESON ANALYTICS INC.,                       )      Case No. 20-
                                                          )
                                                          )
                                                          )
                                      Debtor.             )
                                                          )

                       VERIFICATION OF CREDITOR MATRIX

              I, Robert Damon the Authorized Officer of the corporation named as the
debtor in this case, hereby verify that the attached list of creditors is true and correct to
the best of my knowledge.

Dated: January 28, 2020                    /s/Robert Damon
                                           By: Robert Damon
                                           Title: Authorized Officer
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   Allegis Global Solutions, Inc. ("AGS")
   7312 Parkway Drive
   Hanover, MD 21076

   Alliance Advisors LLC
   200 Broadacres Dr., 3rd Floor
   Bloomfield, NJ 07003

   Allstate Information Management
   80 Beckwith Avenue
   Paterson, NJ 07503

   Altara
   110 Chestnut Ridge Road, #257
   Mountvale, NJ 07645

   Alto Opportunity Fund
   89 Nexus Way
   Camana Bay KY1-9007
   Cayman Islands

   American Arbitration Association
   150 E 42nd St 17th floor
   New York, NY 10017

   American Express Company
   200 Vesey Street
   New York, NY 10285-3106

   AMC Theaters
   13731 Collections Center Drive
   CHICAGO, IL 60693

   Armistice Capital Master Fund Ltd.
   510 Madison Ave, 22nd floor
   New York, NY 10022

   App Annie Inc.
   23 Geary Street
   Suite 800
   San Francisco, CA 94108

   Auxygen LLC (AUX3)
   500 Brickell Ave E2801
   Miami, FL 33131
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   Barry Wiederman
   129 Manor Street
   Plainview, NY 11803

   Baritz & Colman, LLP
   Attorney for Madison Global Partners, LLC
   Attn: David S. Richan, Esq.
   233 Broadway, Suite 2020
   New York, NY 10279

   Bloomberg Finance LP
   P.O. Box 416604
   Boston, MA 02241-6604

   Blueground US Inc.
   311 W 43rd St, 12th Floor
   New York, NY 10036

   Broadridge/Broadridge ICS
   P.O. Box 416423
   Boston, MA 02241-6423

   The Brown Law Firm, PC
   Attorney for Yu Chen
   Attn: Timothy W. Brown, Esq.
   240 Townscend Square
   Oyster Bay, NY 11771

   Business Wire Inc.
   101 California ST, 20th FL.
   San Francisco, CA 94111

   Cassel Salpeter & Co LLC
   801 Brickell Ave #1900
   Miami, FL 33131

   Centri Business Consulting, LLC
   651 Township Line Road, #1663
   Blue Bell, PA 19422

   Centri Valuation Services, LLC
   651 Township Line Road,#1663
   Blue Bell, PA 19422

   CFGI, LLC
   99 High Street, 30th Floor
   Boston, MA 02110
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   CIGNA
   420 Lexington Avenue, Suite 300
   New York, NY 10170

   Cmarie Productions LLC
   15172 Tungwood Street
   Westminster, CA 92683

   Comptroller of Maryland
   Revenue Administration Division
   110 Carroll Street
   Annapolis, MD 21411-0001

   Comptroller of Public Accounts
   PO Box 149348,
   Austin, TX 78714-9348

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   Palatine, IL 60055-9228

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   Grand Cayman E9 KY1-1104

   D.C. Berridge, LLC (dba Best Events)
   314 N Vista St.
   Los Angeles, CA 90036"

   Diane Golfin
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   Directors Desk, LLC – LBX #50200
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   Philadelphia, PA 19178-0200

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   Rockville, MD 20850

   Edgar Agents LLC
   207 W 25th St
   New York, NY 10001

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   1 Rockefeller Plaza, Suite 1205
   New York, NY 10020

   Empire State Building
   ESRT Empire State Building LLC
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   New York, NY 10120

   ESRT Management LLC
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   Washington, DC 20549-5973
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   Northbrook, IL 60062-7917

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   5050 W. Tennessee Street
   Talahassee, FL 32399
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   Franchise Tax Board
   PO BOX 942857
   Sacramento, CA 94257-0531

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   No. 2035, Sunset Lake Road, Suite B-2
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   PO BOX 19008
   Springfield IL 62794-9008

   Internal Revenue Service
   Centralized Insolvency Operation
   P.O. Box 7346
   Philadelphia, PA 19101-7346

   Internal Revenue Service
   2970 Market St, Mail Stop 5Q30133
   Philadelphia, PA 19101-7346

   Internal Revenue Service
   324 25th Street
   Ogden, UT 84201-0046

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   PO Box 7062
   Boston, MA 02204
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   Chairman/Managing Director/CEO
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   Chennai
   600 034 India

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   Lincoln, NE 68509-4818

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   Unit B Fairfield, NJ 07004
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   PO BOX 666,
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   Raleigh, NC 27640-0520

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   Tel Aviv, Yafo 6998225
   Israel

   NYC Dept. of Finance
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   New York, NY 10038

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   NEW YORK, NY 10038
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   Pfeiffer

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   New York, NY 10019

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   c/o Sabby Management, LLC
   10 Mountainview Road Suite 205
   Upper Saddle River, NJ 07458
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   Dept. of Revenue Services
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   Providence, RI 02940-9702

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   Los Angeles, CA 90067

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   Quaker Hill, CT 06375
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   Universal Studios Operations Group
   100 Universal City Plaza
   Universal City, CA 91608

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   Business and Securities Unit
   271 Cadman Plaza East
   Brooklyn, NY 11201

   U.S. Attorney's Office
   Eastern District of New York
   610 Federal Plaza
   Central Islip, NY 11722

   United States Department of Justice
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   Washington, DC 20530

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   Civil Division
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   New York, NY 10007

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   Milwaukee, WI 53293-0208

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   Princeton, NJ 08543
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(212) 594-5000
Frank A. Oswald
Brian F. Moore

Counsel for the Debtor

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ---------------------------------------------------------------- x
                                                                     :
    In re:                                                           :   Chapter 7
                                                                     :
                                                                     :   Case No.
                                                                    1:
    HELIOS AND MATHESON ANALYTICS INC.,
                                                                     :
                                                                     :
                                        Debtor.                      :
                                                                     :
    --------------------------------------------------------------- x

                               CORPORATE OWNERSHIP STATEMENT

              Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of
Bankruptcy Procedure, Helios and Matheson Analytics Inc. certifies that no corporation,
other than the debtor or a governmental unit, either directly or indirectly own(s) 10% or
more of any class of the corporation’s equity interest, or states that there are no entities
to report under Rule 7007.1

DECLARATION UNDER PENALTY OF PERJURY:

             I, Robert Damon, the undersigned authorized person on behalf of the
Debtor, declare under penalty of perjury that I have read the foregoing Corporate
Ownership Statement and that the statement is true and correct to the best of my
information and belief.

Dated: January 28, 2020                                 /s/Robert Damon
                                                        By: Robert Damon
                                                        Title: Authorized Officer




1
       Helios and Matheson Analytics Inc., and its subsidiaries and affiliates, Zone Technologies, Inc., and
       MoviePass, Inc. (each a “Debtor,” and collectively the “Debtors”) concurrently commenced Chapter 7
       cases.
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New York, New York 10119
(212) 594-5000
Frank A. Oswald
Brian F. Moore

Counsel for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------- x
                                                                 :
In re:                                                           :   Chapter 7
                                                                 :
                                                                 :   Case No.
HELIOS AND MATHESON ANALYTICS INC., :
                                                                 :
                                                                 :
                                    Debtor.                      :
                                                                 :
--------------------------------------------------------------- x

          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

        1.       Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that

my firm, Togut, Segal & Segal LLP (the “Togut Firm”), is counsel for the above-

captioned debtor (the “Debtor”).

        2.       The Togut Firm was retained by Helios and Matheson Analytics Inc.

(“Helios”) and its majority-owned subsidiaries and affiliates Zone Technologies, Inc.

and MovePass, Inc. (collectively, the “Debtors”1) as of September 13, 2019 as

restructuring counsel. The Togut Firm’s fees and expenses in the aggregate through

January 24, 2019 were $327,537 and $702.32, respectively, which were paid from


1
    The Debtors have concurrently commenced Chapter 7 cases and, if applicable, the last four digits of
    their U.S. taxpayer identification numbers are: Helios and Matheson Analytics Inc. (9913), Zone
    Technologies, Inc. (5124), MoviePass, Inc. (9893).
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retainers advanced by Helios on behalf of the Debtors. On or about January 16, 2020,

the boards of directors for the Debtors determined that a going concern transaction for

the enterprise was not feasible, and that it was in the best interests of the Debtors to file

voluntary Chapter 7 cases. As of the commencement of the Chapter 7 cases for each of

the Debtors, the Togut Firm maintained a retainer of $39,297.34 for the Debtors, which

will first be applied to the Togut Firm’s remaining accrued and unpaid fees and

expenses for January 2020 through to the commencement of the cases, and then to any

post-petition fees and expenses incurred in connection with its representation of the

Debtors, including but not limited to attending the meeting of creditors pursuant to

section 341 of the Bankruptcy Code.

       3.     The Togut Firm has not agreed to share the above-disclosed compensation

with any other firm or person.

                                   CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or

arrangement for payment to the Togut Firm for representation of the Debtors.

Dated: January 28, 2020
       New York, New York

                                           TOGUT, SEGAL & SEGAL LLP
                                           By:

                                           /s/Frank A. Oswald
                                           FRANK A. OSWALD
                                           BRIAN F. MOORE
                                           Counsel for the Debtors
                                           One Penn Plaza, Suite 3335
                                           New York, New York 10119
                                           (212) 594-5000
